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 1                   IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF VIRGINIA
 2                            NORFOLK DIVISION

 3

 4   CENTRIPETAL NETWORKS, INC.,        )
                                        )
 5                  Plaintiff,          )
     v.                                 ) Civil Action No.:
 6                                      )     2:18cv94
     CISCO SYSTEMS, INC.,               )
 7                                      )
                    Defendant.          )
 8

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11        TRANSCRIPT OF VIDEOCONFERENCE BENCH TRIAL PROCEEDINGS

12

13                               Norfolk, Virginia
                                    May 6, 2020
14

15                                  Volume 1A
                                    Pages 1-93
16

17   BEFORE:     THE HONORABLE HENRY C. MORGAN, JR.
                 United States District Judge
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                                                                             2
 1   Appearances: (Via Zoomgov Video)

 2          KRAMER LEVIN NAFTALIS & FRANKEL, LLP
                     By: PAUL JOSEPH ANDRE
 3                       Counsel for Plaintiff

 4          DUANE MORRIS, LLP
                      By: LOUIS NORWOOD JAMESON
 5                        MATTHEW CHRISTOPHER GAUDET
            -- and --
 6          DAVIS POLK & WARDWELL
                      By: NEIL HARVEY MacBRIDE
 7                        Counsel for Defendant

 8

 9   Technology Tutorial for Plaintiff:                    Page

10   Nenad Medvidovic..............................          17

11   Technology Tutorial for Defendant:

12   Kevin Almeroth...............................           71

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                                                                             3
 1                           P R O C E E D I N G S

 2

 3              (Proceedings commenced at 10:07 a.m. as follows:)

 4

 5              COURTROOM DEPUTY CLERK:      Civil Action No. 2:18cv94,

 6   Plaintiff Centripetal Networks, Inc. v. Cisco Systems, Inc.

 7              For the plaintiff, Mr. Noona, Mr. Andre, are you ready

 8   to proceed?

 9              MR. NOONA:     We are, Your Honor.

10              THE COURT:     For the defendants, Mr. Jameson, Mr. Carr,

11   are you ready to proceed?

12              MR. JAMESON:     We are, Your Honor.

13              THE COURT:     All right.   We're conducting this trial by

14   remote video under the Zoom --

15              MR. ANDRE:     The Court is muted.

16              THE COURT:     Can you hear me now?

17              MR. ANDRE:     Yes, Your Honor, we can hear you.

18              THE COURT:     All right.   We're conducting this trial by

19   video on the Zoom platform, which is the one that's been

20   approved by the U.S. Courts federal court system, and we're

21   going to follow as closely as is possible to do under the

22   circumstances to the regular rules of the court.

23              The Court was very anxious to try this trial because

24   it involves important issues of intellectual property which have

25   a potential impact on programs that could be of national


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 1   importance for the country.

 2                We are conducting this trial openly insofar as we can;

 3   that is, it's open to the public on audio, not on video.          The

 4   people watching on audio should mute themselves; otherwise, if

 5   you are just talking for any reason it'll go over the audio to

 6   everybody else who is on it.      So you should mute yourselves

 7   whenever you're watching it.

 8                Also, the rules of court apply the same as if you were

 9   sitting in the court or if you were ordered by the Court to be

10   separated.     By that I mean no one should be watching on the

11   video if they are going to be a witness in the case.         If you

12   watch any part of the case you would be violating the Court's

13   order if you discussed anything you saw -- well, you wouldn't

14   see -- anything you heard on the audio with any other witness in

15   the case.     So the public is welcome to listen to the video on

16   mute, but you're not admitted to discuss your testimony with

17   anyone or discuss what you've observed with anyone who may give

18   testimony in the case.

19                We will probably have more recesses than we ordinarily

20   have due to the logistics of trying to keep everyone separated.

21   And if someone needs a recess, you can ask for it.         If there's

22   any problem with the technology, we'll of course recess until we

23   can resolve that.

24                The Court's schedule will normally be to convene at

25   10:00 in the morning and take a recess in the middle of the


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 1   morning somewhere around 11:30, depending upon where we stand

 2   with witness testimony at that time, and we'll normally adjourn

 3   for lunch at 1:00 and resume at 2:00.       I assume we can all

 4   handle a one-hour luncheon recess.       It's sometimes difficult

 5   when everyone has to leave the courtroom and go out and get

 6   lunch and come back, but under these circumstances, I assume

 7   everyone's okay with a one-hour recess for lunch.

 8              In the afternoons, we will resume at 2:00 and adjourn

 9   at 4:00.   We will not take a recess in the afternoon unless it's

10   necessary for handling the technology with a witness.

11              One matter that I wanted to discuss before we begin is

12   the fact that there are not going to be any time limits.          It's

13   frequently the case in patent litigation that the judge imposes

14   time limits on each side.     We're not going to do that in this

15   case because I think that would be premature to do that until we

16   learn how proceeding in the manner that we are will affect the

17   progress of the trial.     So unless the Court rules otherwise,

18   we're not operating under time limits.

19              The issue also arose about the findings of fact and

20   conclusions of law.    In retrospect, I can understand why counsel

21   furnished such detailed documents, and the question is how can

22   we try to make practical use of the findings of fact and

23   conclusions of law in the case.      And I believe that the best

24   thing that we can do is have the points of law that the

25   proponent of each witness intends to present made available to


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 1   the Court before the witness testifies.       It may not be

 2   possible -- well, I'm sure it's not possible to do that today --

 3   but what I'm thinking is we have an exhibit book for each

 4   witness, and what I want to do starting tomorrow is to have a

 5   list of the points that each side wishes to present through the

 6   witness.   In other words, we'll take the findings of fact as

 7   they apply to each individual witness.       I'm sure that counsel

 8   has prepared something of that nature for each witness anyway.

 9   I'm not suggesting that we have to outline every single question

10   for each witness, but I am suggesting that we can make an

11   outline of each factual scenario that you wish to present

12   through each witness and have it delivered to the Court prior to

13   the witness's testimony.     It can be immediately prior.       And I

14   would confine it to four pages for the proponent and two pages

15   for the cross-examination.     There's no obligation that this list

16   be made available to opposing counsel until the witness is

17   called, or to the Court.     Same for cross-examination:       You don't

18   have to hand it over until you actually begin your cross.          And

19   the cross, as I say, will be limited to two pages,

20   doubled-spaced.    And I say double-spaced because one of the

21   attorneys made the observation that the Court may want to

22   annotate the findings of fact in the course of the trial, which

23   I think is a good idea.     And if it's double-spaced, I can

24   annotate and make my annotations on those lists themselves as

25   they're supplied to me.


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 1              Now, if counsel wanted to supply that to the Court or

 2   opposing counsel sooner than I suggested, that's fine, if you

 3   can agree on that.      But I would like it made available to the

 4   Court prior to the witness's testifying.        I don't think that

 5   will be very burdensome because I think most attorneys make an

 6   outline of what they want to present through each witness in

 7   advance anyway.    So you can just turn those outlines in to

 8   something that you can deliver to the Court and to opposing

 9   counsel.

10              MR. JAMESON:     Your Honor, this is Woody Jameson.

11   Could I ask a follow-up question on that now?

12              THE COURT:     You may.

13              MR. MacBRIDE:     Would you actually like this summary

14   for us to be trying to identify the specific findings or

15   conclusions of law by number, or is it more summary fashion?

16              THE COURT:     I would present them in the form of

17   numbered paragraphs.      Now, trying to coordinate them with the

18   numbered paragraphs in your conclusions of law may be a

19   difficult burden, particularly in the short-term, so I don't

20   think that's necessary.      Just put them in numbered paragraphs,

21   and we can worry about coordinating the numbered paragraphs with

22   the findings of fact later.

23              MR. JAMESON:     And would you anticipate that at the

24   conclusion of trial it will be of benefit to the Court that both

25   sides provide you record cites to their proposed findings of


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 1   fact and conclusions of law?

 2               THE COURT:     Yes, I think it would be.

 3               All right.     Is there anything further?

 4               MR. ANDRE:     Nothing from Centripetal, Your Honor.

 5               MR. JAMESON:     Your Honor, it was my understanding --

 6   and I don't know whether you want to take this up now or before

 7   we start the actual presentation of evidence -- but I think that

 8   there was some, just one or two disagreements about witness

 9   presentation and some exhibits that may come up as early as

10   today.

11               THE COURT:     You mean motions in limine?

12               MR. JAMESON:     With your permission, I would turn it

13   over to Neil MacBride.       He was going to handle the issues for

14   Cisco to at least preview them to you and figure out whether you

15   want to deal with them now or later.

16               THE COURT:     All right.

17               MR. MacBRIDE:     Good morning, Your Honor.    Neal

18   MacBride for Cisco Systems, Inc.

19               THE COURT:     Good morning.

20               MR. MacBRIDE:     Your Honor, we just wanted guidance

21   before we get underway with the tech tutorial and the openings.

22   There are a couple of issues that have not yet been resolved

23   between Centripetal and Cisco, mostly the calling of live

24   witnesses, the playing of video depositions that have been

25   designated by both parties in the nature of those issues.          And


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 1   very happy to wait until the trial starts to address them at

 2   that point, but just wanted the Court to know that there are a

 3   couple of housekeeping matters that we would like to discuss at

 4   some point.

 5                THE COURT:   No, we can discuss them now.      Counsel has

 6   worked very hard to come up with what I think is an excellent

 7   outline of how you're going to handle the witnesses, and it

 8   appears that your suggestions comport with the Rules, Federal

 9   Rules, as well as the Local Rules.       So I think every one that's

10   in there at this point is helpful and proper.          But if you have

11   any areas of disagreements, we might as well get those resolved

12   up front.

13                MR. MacBRIDE:    Thank you, Your Honor.     I believe that

14   there are essentially three outstanding disputes at the moment.

15   I'm happy to take them one at a time if the Court would like to

16   hear from Mr. Andre, but the first issue, Your Honor, involves

17   the issue of mutually identified live witnesses.         Fact

18   witnesses.     And certain witnesses have been identified for live

19   testimony, in fact witnesses by both parties, for example

20   Mr. Rogers, Mr. Steve Rogers, Mr. Sean Moore will be testifying

21   later this week for Centripetal.       These same individuals, Your

22   Honor, are fact witnesses which Cisco could call in its

23   case-in-chief as well.       And so in the view of Cisco, our

24   proposal to Centripetal was, rather than burdening the Court and

25   the witnesses with multiple appearances, we suggested that, for


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 1   example, Cisco be allowed to question Mr. Rogers or Mr. Sean

 2   Moore this week at the conclusion of their direct testimony with

 3   any of the topics that we would raise in our case-in-chief, and

 4   then of course Centripetal would be allowed to perform redirect

 5   examination of that witness during their sole appearance in view

 6   of Cisco's examination.      And as we understand it, Centripetal is

 7   opposed to the request and instead would like witnesses to be

 8   recalled by the other party in its case-in-chief rather than

 9   just appear a single time.

10                MR. ANDRE:   Your Honor, this is Paul Andre.      We have

11   told Cisco if they wanted to call our witnesses in their

12   case-in-chief we'll make them available.        It's no burden on

13   witnesses.     We're doing this by video.     Mr. Rogers is doing it

14   from his home in New Hampshire, so that's not a problem.          We're

15   going to be presenting Mr. Rogers, the founder of the company,

16   right after we finish the opening statements this afternoon.

17   And what we probably have, with Cisco's proposal, is that they

18   intend to take him on not only cross-examination when we take

19   the examination on, but also our problem they want to take him

20   on.   We have not been provided exhibits in advance like we have

21   to do if they have taken him on their case-in-chief as a direct

22   witness.     It would be a complete surprise to us.

23                So what we're saying is, we're not going to take any

24   of the Cisco witnesses live in our case-in-chief.         We'll play a

25   deposition of their witnesses.      We've taken depositions.      We're


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 1   going to submit written testimony in the form of these

 2   deposition summaries and clips.       So they want to go in and

 3   essentially disrupt our case other presentation of our case by

 4   going in and doing what essentially is their case-in-chief in

 5   the midst of our fact witnesses.

 6              So there's two issues.      One is it's procedurally not

 7   appropriate.    Two, it's complete surprise because they have not

 8   given us any notice as to what they want to examine the witness

 9   on in their case-of-chief, and they have not given us the

10   exhibits like we would normally get.       For example, we gave them

11   our exhibits that we're going to use for Mr. Rogers or

12   Mr. Moore -- Dr. Moore, three days in advance and et cetera.

13              THE COURT:    Well, one difficulty with presenting him

14   one time only would be part of the presentation would be

15   cross-examination of some witnesses and part of it would be

16   direct examination.     I mean, the president of your company would

17   certainly qualify as an adverse witness who could be led, but

18   there may be other fact witnesses in a different situation.

19   Unless there's a problem with the availability of the witness, I

20   think it would be better to call such witnesses as they have

21   been mentioned and then recall them if necessary instead of

22   trying to do both of them at once.       I would like to adhere as

23   close as possible in this proceeding as we would if we were

24   doing it in the courtroom, and I think that's the way we would

25   do it if we were in the courtroom.       So I think we should stick


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                                                                                12
 1   with that.

 2                MR. ANDRE:   Thank you, Your Honor.

 3                THE COURT:   All right.

 4                MR. MacBRIDE:   The second issue, Your Honor, if I may

 5   be heard on that, relates to the consolidation of third party

 6   witness deposition testimony.      So in other words, there are

 7   certain third-party witnesses whose deposition testimony have

 8   been affirmatively designated by both Centripetal and Cisco.               So

 9   for example, Centripetal may play the deposition transcript in

10   the next few days of some of these third-party witnesses.            And

11   we raised with Centripetal our suggestion and provided to the

12   Court that rather than providing the Court with overlapping --

13   rather than burdening the Court, excuse me, Your Honor, with

14   overlapping testimony, we would request that the party's

15   affirmative designations and the counter-designations

16   designation be played together at the same time.         And so in

17   practice this would mean that both Cisco and Centripetal can

18   each play their affirmative designations on the same day as well

19   as the respective counter-designations rather than waiting for

20   their case-in-chief and have a repeat of deposition video

21   transcript.

22                THE COURT:   Well, wouldn't that be -- let's assume the

23   witness was in court instead of testifying by deposition.

24   Wouldn't a third-party witness be called by one side and

25   examined and then cross-examined by the other side?          Isn't that


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                                                                             13
 1   what happened in the deposition?

 2                MR. JAMESON:     That's correct, Your Honor.     We had

 3   thought, though, that there could be efficiencies for the Court

 4   to have the benefit of having them at the same time.

 5                THE COURT:     Well, that seems to be logical.     In other

 6   words, if the witness were here in court, the witness would be

 7   presented by the proponent and then cross-examined.           We wouldn't

 8   present the witness and then bring a witness back for

 9   cross-examination, we would do the whole thing at once.           Why

10   shouldn't we do the whole thing at once, Mr. Andre?

11                MR. ANDRE:     Your Honor, we agree with that.     We agree

12   that the cross-examination -- the counter-designations for the

13   portions that were designated, the cross-examinations, as it

14   were, is appropriate.        100 percent.   What they want to do though

15   is go in and put in what they would have wanted put in in their

16   direct testimony.     Just what we were talking about with the live

17   witnesses.     They want to add in their testimony as well.         Now, I

18   don't think it's going to be an issue.         Most of this is going to

19   be submitted in the form of written testimony to the Court for

20   submission.     But if it comes up, I think we can deal with it.

21   But it's, I don't think it's appropriate for them to put in --

22   they want to examine the witness themselves.         Like in many

23   instances they subpoenaed the third party, but they want to put

24   in their portion they would like to put in --

25                THE COURT:     You mean there were two depositions of


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                                                                             14
 1   people?

 2                MR. ANDRE:   There was -- a third party would be in a

 3   deposition, would be the subpoenaed party, then the opposing

 4   party would also take it as well.       So it wasn't straight

 5   cross-examination.

 6                THE COURT:   In other words, they brought up matters in

 7   cross that were not brought up in direct?

 8                MR. ANDRE:   That's correct, Your Honor.

 9                THE COURT:   Well, that's something that frequently

10   happens in the examination of a witness.        I think in that

11   instance it would be better to just present all of the

12   deposition testimony at once.      If defense counsel went beyond

13   cross-examination and brought up matters that weren't brought in

14   direct, meaning that they couldn't cross-examine them, they just

15   wouldn't be allowed to cross-examine them.        But I think we ought

16   to hear it all at one time in that instance.         I'm trying to do

17   what we would do if we were in court.        That's how we would to it

18   if we were in court.

19                MR. ANDRE:   Your Honor, that was our point.      If we had

20   the direct examination, anything they cross-examinationed on

21   would be completely appropriate, or even further testimony that

22   was relevant to that testimony is fine, but if they go outside

23   of the scope of direct, we think that would be inappropriate.

24   If Your Honor wants us to play all of it, we can do that as

25   well.


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 1               THE COURT:   Well, I think we just play all of it.

 2   That's what we would do if the witness were here in court, I

 3   would just say if you're going to go beyond what was in direct,

 4   you're making them your witness, and you can't cross-examine

 5   them.

 6               Now of course when it comes to exhibits to be used

 7   with the witness, they would have to be supplied in the normal,

 8   in accordance with what counsel has agreed on.

 9               MR. MacBRIDE:   Thank Your Honor.

10               Your Honor, the final issue is one -- it's simply a

11   objection that Centripetal has raised to a proposed exhibit

12   that -- excuse me, that Cisco has raised.        It's a direct exhibit

13   that would be used with Mr. Steven Rogers and proposed by

14   Centripetal.    We've not been able to have a meeting of the minds

15   and so we continue to disagree.       We have an objection to the

16   document.    And we can bring that up now and discuss it, Your

17   Honor, or at the time of Mr. Rogers' direct.         Just wanted to let

18   you know that that's one open issue that remains at this point.

19               THE COURT:   Well, I think we'll take that up when he

20   takes the stand.

21               MR. MacBRIDE:   Very good.

22               That was it from Cisco, Your Honor.       Thank you.

23               THE COURT:   All right.    Well, the first -- Brandan?

24               (Court and law clerk conferred.)

25               THE COURT:   One thing I'll bring up while we have a


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 1   pause here, for the purpose of those observing the matter by

 2   audio, is that we frequently have bench conferences to decide

 3   issues of evidence.       So it may be necessary during the course of

 4   the proceeding to turn the audio off when we're having what

 5   would amount to a bench conference in the course of trial.           So

 6   those people who were observing via audio, I just wanted to let

 7   you know that if we were all in open court I would just ask

 8   counsel to come up to the bench and we would turn the

 9   microphones off so that nobody could hear what we were talking

10   about.    Issues may come up in the course of the trial where I

11   would have the equivalent of a bench conference, and what I'll

12   do in that situation is I'll just turn the audio off until we

13   complete whatever the matter is that we're discussing

14   confidentially.

15               All right.     I have the documents from my clerk that I

16   was looking for, so if there are no further issues, we can begin

17   with the presentation on behalf of the plaintiff.

18               MR. ANDRE:     Your Honor, this is Paul Andre for

19   Centripetal, the plaintiff.

20               As the Court ordered, both sides will be presenting a

21   technology tutorial.       The parties have agreed that each of the

22   experts for Centripetal and Cisco will present Your Honor with a

23   general tutorial of the technology, not in advocacy role, but

24   just to give the Court a background, and there will be no

25   cross-examination.       Thereafter, we'll do the opening statement.


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                                                                            17
 1               THE COURT:    All right.

 2               MR. ANDRE:    With that, Centripetal would like to call

 3   Dr. Nenad Medvidovic to the stand.

 4               THE COURT:    All right.   Go ahead.

 5               MR. GAUDET:    Your Honor, this is Matt Gaudet for

 6   Cisco.    I just wanted to let you know, with respect to the

 7   tutorials, I'll be the person handling this on behalf of Cisco.

 8   I'll be completely silent while Mr. Andre would offer that

 9   tutorial, but I wanted the Court to know who the face on the

10   screen was, Your Honor.

11               THE COURT:    Okay.

12               MR. ANDRE:    Your Honor, at this point, before we give

13   the tutorial, the parties have agreed that the only fact

14   witnesses that can sit through the tutorials are the corporate

15   representatives pursuant to the pretrial order.         So I just would

16   like to remind any individual fact witnesses coming on through

17   video or through audio to now drop off the line if that's okay

18   with Your Honor.

19               THE COURT:    Okay.

20               MR. ANDRE:    Thank Your Honor.

21               Lori, are we going to swear in the tutorialists?

22               COURTROOM DEPUTY CLERK:     Do you want him to be sworn?

23               THE COURT:    Yes.

24               NENAD MEDVIDOVIC, having been duly sworn, was examined

25   and testified as follows:


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                         N. Medvidovic - by Mr. Andre                               18
 1                MR. ANDRE:     May it please the Court.            May I begin?

 2                THE COURT:     You may.

 3                MR. ANDRE:     Thank you, Your Honor.

 4                     TECHNOLOGY TUTORIAL OF PLAINTIFF

 5   BY MR. ANDRE:

 6   Q.   Dr. Medvidovic, good morning.

 7   A.   Good morning.

 8   Q.   Why don't we start by letting the Court know who you are.

 9   Can we just see the slide of your qualifications?

10   A.   Sure.     I am a professor of computer science at the

11   University of Southern California.                  I have been at USC since

12   January of 1999.     Before that I got a Bachelor's degree, a

13   Master's degree and a Ph.D.              First degree was from Arizona State

14   University in computer science and engineering, the latter two

15   were from the University of California at Irvine in information

16   and computer science.

17                THE COURT:     How do you spell your name, sir?

18                THE WITNESS:       The first name is spelled N-e-n-a-d.

19                THE COURT:     N-e-n-a-d.

20                THE WITNESS:       That is correct, Your Honor.

21                The last name is M-e-d-v-i-d-o-v-i-c.

22                THE COURT:     Medvidovic.            Is that right?

23                THE WITNESS:       Medvidovic.          But yes, close.

24                MR. ANDRE:     Your Honor, just for the record, all of

25   his students and we call him Neno, because that name's a


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                           N. Medvidovic - by Mr. Andre                                 19
 1   mouthful.

 2                  THE COURT:     All right.

 3                  COURTROOM DEPUTY CLERK:               What happened?

 4                  LAW CLERK:     The Judge dropped.

 5                  THE COURT:     What happened?            Do we know?

 6                  COURTROOM DEPUTY CLERK:               Hold, please.

 7                  THE COURT:     Well, everything went blank.            We had two

 8   hearings yesterday without a hitch.                    So hope nobody's put

 9   malware in the system.

10                  MR. ANDRE:     Between the two parties, we have enough

11   experts, we should be able to fix this.

12                  THE COURT:     I hope so.

13                  So if we can just get the doctor back on the screen?

14                  MR. ANDRE:     Your Honor, because Dr. Medvidovic will be

15   coming back later in the case, he's just doing the tutorial now,

16   we'll expand on his credentials a little more later, but for now

17   we'll just go with the presentation if that's okay with Your

18   Honor.

19                  THE COURT:     That's fine.

20   BY MR. ANDRE:

21   Q.      Dr. Medvidovic, could you describe the three types of

22   devices found in computer networks we'll be focusing on in this

23   case?

24   A.      Yes.    Let me see if I can control -- it doesn't look like I

25   have the control.        The three kinds of devices I'll overview


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                         N. Medvidovic - by Mr. Andre                          20
 1   briefly over the next several minutes are switches, routers and

 2   firewalls.     And we'll talk about each one of those in turn.

 3   Q.   Are these the three major devices you find in most computer

 4   networks?

 5   A.   Yes.     These are the three kind of principle devices that

 6   comprise computer networks.

 7   Q.   Okay.     Why don't we start off with switches.

 8                THE COURT:     Switches, routers and?

 9                THE WITNESS:       Firewalls.

10                THE COURT:     Firewalls, okay.

11   BY MR. ANDRE:

12   Q.   Start off with switches.

13   A.   Sure.     So the way to think about switches is similar to how

14   a telephone switchboard operator worked back over half a century

15   ago at this point, where there would be a call coming in, in

16   this case from parents who want to speak to their daughter, they

17   would provide the operator with the number, and then the

18   operator would do the appropriate connection on the switchboard

19   and eventually the parents could speak to their daughter.           And

20   in a sense, that is how computer switches work except that they

21   don't connect people, and also they have to do things in much

22   greater volumes than a human phone operator would have been able

23   to do.

24        So this is what a modern-day switch box on a computer

25   network looks like.        It would connect things like a computer


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                        N. Medvidovic - by Mr. Andre                                  21
 1   with a printer, or a computer with another computer and so on.

 2         And what you see here, Your Honor, in the middle of this

 3   slide, is the schematic computer engineering symbol for a

 4   switch.     So whenever you see this rectangle with those little

 5   shapes inside of it, that's what a switch is essentially

 6   represented as.

 7   Q.    Could you go back one slide, Dr. Medvidovic?

 8         So the switch box itself, all those little things in the

 9   back, are those just different ports for the plugs to go into

10   it?

11   A.    Those are the -- exactly.              Those are the different ports.

12   We call them plugs.       And their shaped is exactly like the shape

13   on that schematic that's coming up on the next slide that we

14   just saw a second ago.         This is why they're represented that

15   way, because the network plugs look like those little shapes.

16         So what switches allow us to do is build, for example, a

17   whole network or a small business network.                  They basically allow

18   us to hook together some number of devices that are reasonably

19   close to one another physically.                  So when we do this, we create

20   this network.     In this case we're showing three computers, two

21   printers, there could be fax machines, whatever else you might

22   have on that network.        And now everything is controlled, all the

23   interaction between those different devices goes through that

24   switch.

25   Q.    And do switches have to be local?                 Do they all have to be


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                         N. Medvidovic - by Mr. Andre                                 22
 1   in the same building?

 2   A.   The devices themselves could be in a single location.                     They

 3   could also be on a -- in single building, for example, like the

 4   courthouse that Your Honor is in right now, or they could

 5   connect devices across, let's say, a company campus.

 6                MR. ANDRE:     All right.             Unless Your Honor has any

 7   questions about switches, let's go to the next major computer

 8   device in a network:        Routers.

 9   A.   Computer routers are the second major device that makes up

10   a network.     And unlike switches, which are like those phone

11   switchboards, the way to think about a router is like a

12   dispatcher.     So for example here, we have an ambulance

13   dispatcher, and what the router will do is it'll dispatch, in

14   the real-world scenario that we're using here, a paramedic

15   vehicle from Location A to Location B, and possibly advise them

16   on what route to take so they can get there as quickly as

17   possible.     And that's essentially the job of a computer router,

18   except of course it's routing computer data rather than routing

19   humans inside of vehicles.

20        And the way a router is represented is with this symbol

21   that looks like a hockey puck with arrows on it.                   That's just

22   the computer engineering symbol that computer engineers use to

23   represent the router.

24        What the router does, is it decides how to take the data

25   that's coming in and route it in an optimal way to wherever it


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                         N. Medvidovic - by Mr. Andre                        23
 1   needs to go so that it gets there as fast as possible.          So here

 2   we're showing this U.S. Postal Service packet, which we'll talk

 3   about in a second, to represent computer data, and what the

 4   router does is essentially decides where it needs to go after it

 5   is sent.

 6   Q.   Does the router use the same route every time data packets

 7   are sent or does it pick the best route?

 8   A.   The routers are constantly trying to figure out, based on

 9   the current state of the network, which paths might be more

10   clogged than others.        So it's exactly trying to figure out what

11   the best way of getting packets from Point A to Point B is.

12   Meaning that between two different points in time, it could

13   choose different routes and readjust and always try to do the

14   best that it can based on the current status of the network.

15   Q.   How do routers fit into the network structure?

16        There it is.

17   A.   There we go.      So this is basically how computer networks

18   end up getting built.         What you have in these boxes off to the

19   sides are the small networks created by switches, those very

20   local networks, and then what the routers do is they connect

21   those networks into even larger networks.          And now we're showing

22   here schematically these packets of data traveling around, and

23   the router figuring out where they need to go.

24        Now, this is still a relatively small network, but this can

25   then expand, because you can have more routers connecting other


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                         N. Medvidovic - by Mr. Andre                             24
 1   small networks and on and on and on, so that you can create

 2   nationwide networks or today's Internet, which basically is

 3   global.

 4                MR. ANDRE:     So unless Your Honor has any questions

 5   about routers, why don't we go to the third --

 6                THE COURT:     What did you mean by saying the word

 7   "mobile"?

 8                THE WITNESS:       I said "global", Your Honor.

 9                THE COURT:     Oh, "global".          Excuse me.   All right.

10   BY MR. ANDRE:

11   Q.   We'll move to the third type of device we'll be talking

12   about in this tutorial:           The firewall.       What is a firewall?

13   A.   A firewall, just like in the real world in a hotel or a

14   large office building, it's there for protection.                So it's

15   literally a wall between you and wherever there might be some

16   sort of danger.     In the case of a physical building it could be

17   the actual fire, obviously.              So if we go to the next slide,

18   we're going to be presenting or representing firewalls with this

19   brick wall with this flame symbol on it, and this flame symbol

20   in particular is typically the computer engineer's chosen way of

21   representing a firewall.

22   Q.   What does the firewall do?

23   A.   Basically a firewall takes some sort of a local network

24   like what you see up there in the upper right side, and whenever

25   data arrives from the outside from some sort of server on the


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                        N. Medvidovic - by Mr. Andre                                   25
 1   Internet, the firewall monitors that data, inspects it, and can

 2   do various things.      Can decide what to do with it.               So it

 3   establishes this barrier between the network you would like to

 4   protect and the outside world.

 5   Q.   So the web server in this example is the outside world,

 6   that's the Internet, and on the right side is your private

 7   network?

 8   A.   The web server could be anything that you're trying to get

 9   data from on the open Internet.                   The example we can maybe use to

10   today is something like ESPN.com.                   So any data you try to see or

11   retrieve from the ESPN servers would be on that web server.                   And

12   that data would travel to you, but before it gets to your

13   computer, it would first go through this firewall, and the

14   firewall may decide to permit that data to go through because it

15   does not violate any policies or rules that you may have for the

16   firewall.   Alternatively, the firewall may decide to block the

17   data if the traffic is unauthorized.                   So for example, it could

18   be in a company where the company policy is you can't watch

19   sports during work hours.           So in that case, that data from ESPN

20   would be dropped at the firewall and never arrive to you.

21   Q.   So how do all the firewall, routers and switches, how do

22   they then fit into an entire network structure?

23   A.   So this is a very simplified view of what a computer

24   network may look like, obviously.                   It only has one printer, two

25   computers, a couple of switches, one router and a firewall.                   But


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                        N. Medvidovic - by Mr. Andre                              26
 1   you could imagine literally tens of thousands of these in a very

 2   large network working together, essentially.               As we spoke

 3   before, the switches are there to connect mostly local devices,

 4   the routers are there to connect those small networks enabled by

 5   the switches, and then the firewalls sit there on the edge of a

 6   network to inspect the data, apply various rules to figure out

 7   what data may go through, what data may be dropped, and so on.

 8        And then of course everything beyond the firewall on the

 9   left-hand side, that would be sort of the open Internet where

10   whatever the organization is is not really able to control what

11   happens.    So what you try to do is you try to, in a way, protect

12   things on the right-hand side of this firewall.

13   Q.   So traditionally firewalls did serve some security

14   function.    Did -- in traditional networks do routers and

15   switches have a security function?

16   A.   Traditionally it was assumed that the security is going to

17   be handled primarily at the firewall and the routers and the

18   switches were there to ensure that the data gets to their

19   destination as quickly as possible.               So in a way, one way to

20   think about it in traditional older networks, firewalls would

21   focus on security, routers and switches would focus on

22   performance and speed.

23   Q.   Now, we're going to hear some other concepts in this case,

24   and one of them is network packets.               That's a big issue here.

25   And you've shown a network packet represented as a Priority Mail


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                            N. Medvidovic - by Mr. Andre                             27
 1   box that goes through the Postal Service.                  Could you describe

 2   what are the different components of a network packet?

 3   A.      Absolutely.     So when you go to a server such as ESPN.com,

 4   and let's say you want to retrieve a video of the highlights of

 5   a football game that took place last Sunday -- well, there was

 6   in this case no football game last Sunday, of course -- but in a

 7   regular scenario there presumably would be during the season --

 8   that video would not arrive from the server to your computer in

 9   a single chunk, because that could be a lot of data and it would

10   be incredibly inefficient, and that's not how computer networks

11   work.

12           What happens is that that video gets sliced up into a very

13   large number of relatively small packets, and those are called

14   data packets.     And each one of those packets has two different

15   parts.     One of them is what we're representing here as the

16   mailing label.        And that basically has some header information;

17   for example, it tells you what is the size of this particular

18   packet, which packet in the ordering of all of the packets for

19   that particular video it is.                  So it could be Packet 327, so that

20   whoever is going to be reading this knows that Packets 326 and

21   328 need to be composed around that packet to get the actual

22   video stream.     It'll have the source of the packet, whoever sent

23   it; it'll have the destination, where it's supposed to go; and

24   possibly some other information as well.                  And that could be

25   thought of as the, essentially a mailing label in a U.S. Postal


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                         N. Medvidovic - by Mr. Andre                                  28
 1   Service package.

 2   Q.   And what is the actual content of the video?                   What's that

 3   called?

 4   A.   Exactly.     So the other thing that we need to worry about in

 5   a data packet in addition to that mailing label thing is the

 6   contents of the actual data.               So the chunk of the video that is

 7   getting passed from ESPN.com to your laptop, and that's called

 8   the payload.     And that, here, we are representing as the data

 9   that would actually -- the contents that would actually go

10   inside of this box.        So whenever we, for the rest of my

11   presentation, talk about data going back and forth, we'll show

12   these USPS boxes kind of traveling around, but really that's

13   just a convenient way of representing computer packets traveling

14   from one location to another.

15   Q.   We're going to be talking a lot about encryption.                   It's an

16   important aspect now in computer science.                   Could you describe

17   what is encryption as it relates to network packets?

18   A.   Absolutely.     So encryption basically means that you don't

19   want someone to necessarily snoop inside of your packet before

20   it gets to you.     So again, in our case, ESPN.com might not be

21   something that we care about encrypting that data because it's

22   just a video of a football game.                   On the other hand, if we're

23   doing online banking, we don't want that data packet showing our

24   balance, for example, to be intercepted by somebody and snooped

25   inside of.     So what people end up doing is they end up


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                        N. Medvidovic - by Mr. Andre                              29
 1   encrypting the data so that even though you might understand

 2   where it's coming from or it's going to -- so the mailing label

 3   might still be visible to you -- what's actually inside of that

 4   packet is not visible.         And that we just, here for convenience,

 5   representing with this padlock and the word Encrypted on it.

 6   Q.   So when you encrypt a network packet, you're locking away

 7   or encrypting the payload, the stuff in the box, but the mailing

 8   label is still publicly available, it's not kept secret; is that

 9   correct?

10   A.   That is essentially correct.                 You are really not concerned

11   about somebody knowing that the packet originated in Bristol,

12   Connecticut and might be going, let's say, to me in Los Angeles,

13   California.    What I'm concerned with is that I don't want

14   somebody to actually see inside of that packet.                 So I'm

15   encrypting the payload, and the header information can stay on

16   there.

17   Q.   So how is information transmitted?                 You used ESPN from

18   Bristol, Connecticut to a user on the west coast -- could you

19   describe that process how packets are transmitted?

20   A.   Sure.    So in this case we would have a user who happens to

21   be somewhere around Seattle and we have a server that's

22   somewhere around Bristol Connecticut.                 So it turns out that ESPN

23   is not a bad example, because that's where the headquarters is.

24   And what the user will do is they will send -- they will click

25   on the link on the browser, ESPN.com, and that will result in a


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                         N. Medvidovic - by Mr. Andre                       30
 1   request packet being sent from the user's computer to the server

 2   that is owned by ESPN.          At that point the ESPN server will slice

 3   up that video, for example, of the football game highlights into

 4   a large number of data packets, and it'll send them back.

 5        What happens here is you have literally tens of thousands

 6   of these routers, these hockey pucks, distributed all over the

 7   place, all across the country, and they will decide how to route

 8   the data from one point to the next so that the original request

 9   arrives really efficiently from Seattle to Bristol, and the data

10   gets returned also really efficiently from Bristol to Seattle.

11        And one thing I should stress at this point, we already

12   mentioned this, even though just because PowerPoint was easier

13   to create this way, this particular slide, and it shows a single

14   path going from Seattle to Connecticut and back, in reality, any

15   one of those routers could decide on the fly, dynamically, to

16   reroute the packet and take any one of the other routes, meaning

17   send it to any one of the other hockey pucks that we have here.

18   So that the route one packet takes from Bristol to Seattle is

19   not going to be necessarily the same as the route another packet

20   takes.     So all that stuff is determined on the fly by each

21   router.

22                THE COURT:     Is it necessary to have all those

23   intermediate routers as opposed to just sending it directly from

24   Connecticut to Seattle?

25                THE WITNESS:       It turns out to be necessary, Your


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                         N. Medvidovic - by Mr. Andre                           31
 1   Honor, simply because of the scale at which computer networks

 2   have to pass data around.            Sending it directly would mean, would

 3   be the equivalent of a non-stop flight from Seattle to Bristol.

 4   So if you just think about how airlines operate, it is extremely

 5   unlikely that such a flight would exist because it would be very

 6   inefficient for the airline to move people around that way.               So

 7   this is more of the, almost like the hub and spoke mechanism for

 8   routing things around so that you load up only those parts of

 9   the network that need to be loaded up in a given time, and the

10   rest of the network can operate at optimal high speeds, for

11   example.

12                THE COURT:     Well, suppose you're sending it across the

13   ocean?     Does it go straight across or does it have to go through

14   intermediate routers?

15                THE WITNESS:       For that, this is -- I don't know if you

16   have been reading about issues recently for example in South

17   Africa.     Their underwater cable fiberoptic cable was actually

18   damaged, and the country had issues with high-speed connectivity

19   to the rest of the world.            What they do for that is they will

20   have multiple of these literal physical cables that they will

21   lay on the ocean floor, typically, that are very high-speed,

22   where those cables will serve as kind of a single hop, once you

23   get the data to one of those cables, a single hop to a very

24   fast, very quickly transfer it to some router on the other side

25   of the ocean.


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                        N. Medvidovic - by Mr. Andre                                  32
 1               THE COURT:     Well, so does there have to be a physical

 2   connection between the various routers or is it wireless?

 3               THE WITNESS:       It can be wireless.            It can be done

 4   through satellite, for example.                   But just like what we were

 5   advised to do for this particular trial, wired works much more

 6   reliably than wireless.          There are various things that you

 7   cannot control in a wireless environment.                   So you can imagine

 8   both of these options being available, but if you want to

 9   control the throughput, the speed at which this happens, if you

10   want to have those guarantees and if you want to go as fast as

11   possible, wired is considered more reliable and generally faster

12   in that sense than wireless.

13               THE COURT:     Is it more secure?

14               THE WITNESS:       That's the other thing.            You can

15   certainly, if you -- in a way, if you owned the wire, you can

16   control who can access it.            As soon as you get it into the

17   ether, things get a lot trickier because who knows who is

18   listening and snooping?          Wired interaction is not entirely

19   secure, there are certain reasons for that, but it's certainly a

20   lot more secure in an average case than wireless interaction.

21               THE COURT:     All right.

22   BY MR. ANDRE:

23   Q.   So our ocean floors are littered with these large

24   fiberoptic cables that transmit data from one continent to the

25   other?


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                           N. Medvidovic - by Mr. Andre                      33
 1   A.     They are.     And to be honest with you, I don't actually know

 2   how they do it.       I know they use these huge ships and they have

 3   these spools of wire, but beyond that, how you ensure that these

 4   things don't get broken once they're on the ocean floor, I guess

 5   one way you find out they're broken is when it doesn't work

 6   anymore.     So it's incredible technology that has existed for

 7   some time now.

 8   Q.     But once data transverses like from New York to London on

 9   the ocean cable, they get back into the router networks in

10   Europe and in the United States?

11   A.     Absolutely.     From that point on it works exactly the same

12   way.     And as the Judge observed as well, there is data that can

13   be transferred through the satellite links, for example, so in

14   that sense wirelessly.            But once it gets onto the network on the

15   physical land -- in a sense when it starts going from servers on

16   land to other devices -- that's where you can think of that

17   network just a different map, but the same idea behind the

18   network:     These routers deciding how to figure out what the hops

19   should be so that the data gets as quickly as possible from New

20   York to London or New York to Moscow, for that matter.

21   Q.     That kind of leads us into my next question about what is

22   Cloud computing.       We're talking about wireless and the Cloud,

23   and it doesn't have to be wireless, I know, but could you

24   describe -- when we hear Cloud computing, what are we talking

25   about?


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                         N. Medvidovic - by Mr. Andre                                   34
 1   A.      So Cloud computing is based on a very simple idea.                 Back

 2   10, 15 years ago, most of us would have all of our data

 3   somewhere on a local hard drive, and then if we ran out of drive

 4   space on our computer, we might find external drives.                    So all of

 5   our videos of our cats, photos of our flowers, so on, all of

 6   that would be on a local drive.                    And eventually people realized

 7   that this is not efficient and not necessarily the best way of

 8   doing this for two reasons.              One of them is every single one of

 9   us would have to keep buying these additional disk drives to

10   store more and more stuff.             Because we now have literally

11   thousands of photos, every single one of us, and those take lots

12   of space, for example.          And lots of other data that we have as

13   well.

14           The other reason is that if the local drive crashes, very

15   often you lose some of this precious data.                    In this case we're

16   showing a photo of a flower, and that might not be

17   super-important to you, but you could imagine even things like

18   videos of one's family from awhile ago could be important to

19   you.     And then you could imagine actual important financial

20   data, for example, and things of that nature.                    So you wouldn't

21   want that on the local computer necessarily for you yourself to

22   maintain.

23           So what happened is companies like Amazon and Microsoft and

24   Google and so on, they realized that they had these huge what

25   they call server farms that can store lots and lots of data for


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                         N. Medvidovic - by Mr. Andre                              35
 1   you, and they can also have -- since these computers are

 2   powerful -- they can do a lot of computing for you also if you

 3   wish them to.     So what happens in today's computing most of the

 4   time is you will store these things like the photo of this

 5   flower somewhere on one of those servers.               You may get, for

 6   example, free disk access with Apple or Google or whoever, and

 7   then whenever you want to access that photo or whenever anybody

 8   else, let's say your family or your friend, wants to see the

 9   photo of a beautiful flower in your garden, they send this

10   request to essentially almost like an Internet link to this

11   server, and that server is going to send that photo to your

12   device.

13        So now what you're doing is you're doing all of this

14   essentially on the Internet.               So the Cloud itself is really the

15   Internet.     But the way the providers of the Cloud like you to

16   think of it is a bunch of these high-powered servers that are

17   completely hidden away from you and all you see is essentially

18   almost like a remote disk drive, for example, from which you can

19   access your data.

20                THE COURT:     Well, the Cloud is really a collection of

21   very large or high -- not necessarily physically large, but

22   high-capacity electronic storage devices.               Is that what it is?

23                THE WITNESS:       That's correct, Your Honor.       And also

24   processing devices.        So one type of Cloud service would be to

25   store your data.     Another type of Cloud service may be to do


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 1   some computing that is so expensive that doing it on your local

 2   device might be impossible.                You might have to buy an incredibly

 3   expensive computer to do that with a very powerful processor.

 4   You can get it done for, let's say, you know, three dollars,

 5   some kind of nominal fee on Amazon, because Amazon happens to

 6   have a lot of spare computers, a lot of these computers that

 7   they have typically sitting around waiting for someone to use

 8   them.

 9                  THE COURT:     They take up space somewhere, right?

10   Q.      Amazon Web Service, that's the Amazon Cloud Service, don't

11   they have like a very large building in Virginia and they have

12   thousands and thousands of these computers?                Could you describe

13   what that looks like?

14   A.      Yes.    So one of my favorite photos that I saw, and it was a

15   real surprise for me the first time, was this photo of, just

16   like that Amazon building, a Google building with a bunch of

17   what looked like yellow pieces of string.                And it was these huge

18   racks of individual computers placed in those racks, so

19   literally thousands of them, and what looked like yellow string

20   was really yellow Velcro.              When one of those computers were to

21   crash, to fail, for example, what they would do is just, they

22   would just unsnap the Velcro, take it out of its housing and put

23   another computer in, so that at all times they would have this

24   huge bank of the computers available for hundreds of thousands

25   of people, for example, to store their photos, to check their


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                         N. Medvidovic - by Mr. Andre                              37
 1   email, to do web searches and so on.

 2         All of these -- go ahead, please.

 3                THE COURT:     Well, if one of them crashed there's some

 4   sort of system that would save the data?

 5                THE WITNESS:       Yes.       So all of this is highly

 6   replicated.     They have different ways of ensuring that you as

 7   the end user, or I, would never notice that something went

 8   wrong.    Computers crash all the time.                 There are a lot of

 9   different techniques that researches in distributed computing

10   have developed over the past several decades to mask those types

11   of crashes from the end user.               If you have a single computer, a

12   crash is quite definitive.             There is nothing you can do about

13   it.   Your computer just crashed.                  If you have thousands of

14   computers, it turns out that there are certain kinds of

15   techniques that you can apply to -- even though you have a local

16   crash -- to mask that crash from everybody except for the

17   engineer who is in charge of ensuring that the network is at

18   the, what they call a server farm, that it's functioning

19   correctly.

20                THE COURT:     All right.

21   BY MR. ANDRE:

22   Q.    You mentioned --

23                MR. ANDRE:     Go ahead, Your Honor.             I'm sorry.

24                THE COURT:     No.

25   BY MR. ANDRE:


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                        N. Medvidovic - by Mr. Andre                              38
 1   Q.    You mentioned a term there that I want you to drill down

 2   on.   I know you wrote that back on software architecture.               What

 3   is distributed computing?

 4   A.    Distributed computing is nothing more than any type of

 5   computing that requires more than one computer.              So the moment

 6   that you have two computers talking to one another to do

 7   something, like for example the exchange of the photo of a

 8   flower, that's an incredibly simple example of distributed

 9   computing.     One of them is sending a flower, a photo of a flower

10   to the next one.

11         Then of course you have incredibly complex distributed

12   computing systems.      And anything that you do on the Cloud -- I

13   mentioned Gmail, for example, everybody gets Gmail for free from

14   Google.     Every time you receive email or send email, that is

15   distributed computing.         Because what you're doing is you're

16   sending it through the Google Cloud to whoever the recipient is.

17   And of course you are likewise receiving the email.              Any time

18   you watch that video of football highlights from ESPN.com, that

19   is an example of distributed computing.              Every time you do

20   online banking, and on an on.              So every single instance when you

21   have more than one computer that is required to do something,

22   that's called distributed computing.

23   Q.    Do most large companies build their systems on distributed

24   computing today?

25   A.    Nowadays I would say that probably an overwhelming majority


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                        N. Medvidovic - by Mr. Andre                        39
 1   of all useful systems in the world rely on distributed

 2   computing.

 3   Q.   Let's change tacks a little bit here and let's talk about

 4   the technology regarding Centripetal's security patents that are

 5   involved in this case, the five patents in this case.

 6   A.   Yes.     So these are the five patents, and Your Honor will be

 7   hearing a lot more about these over the next several days.           Here

 8   I will just very briefly overview kind of at the core what these

 9   patents teach.

10   Q.   Of the five patents, we'll be referring to them by the last

11   numbers, the '193, the '806, '205, '856 and '176?

12   A.   That's correct.       I'll have a very simple slide kind of

13   describing what each one of those five is, and I'll refer to

14   them by the last three digits.

15   Q.   Let's start with the '193 patent.

16   A.   The '193 patent essentially deals with a set of rules that

17   are applied at the level of routers and switches that decide

18   whether a data packet that's coming through should be allowed to

19   be forwarded on to whatever its destination may be, or it should

20   be dropped.     So you get a data packet, you inspect it very

21   quickly, and depending on whether it matches one of these rules,

22   you make a determination to forward it or drop it.

23   Q.   When you say "forward" or "drop", what do you mean by that?

24   A.   So when you forward the packet, essentially that means that

25   what you're doing is you're letting it go from its source to its


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 1   destination.     Dropping it means exactly what is shown here.

 2   What you're doing is you can think of taking that packet and

 3   putting it into a virtual trash can.                   So you do not allow it to

 4   continue.

 5   Q.   Let's go to the next patent, the '806 patent.

 6   A.   The '806 patent deals with preprocessing a set of rules.

 7   Once those rules are preprocessed, they're made available to the

 8   firewalls, routers and switches, then those rules are applied to

 9   the packets to examine the packets as they go through.                   And then

10   at some point during this process you may want to update that

11   rule set because you've discovered something new.                   You have some

12   new knowledge and so on.            And that new rule set needs to be

13   substitutable for the original rule set without you really

14   experiencing any issues with the network traffic.                   You can't

15   expect things are just going to slow down because you're

16   switching these rule sets or that you just drop packets while

17   this switchover is taking place.                   In other words, you are

18   treating this network traffic in exactly the same way, while

19   within the router, switches and firewalls this action of

20   switching these rule sets one for the other takes place in the

21   background.     And that happens in real-time.

22                THE COURT:     Well, if you're putting in a new set of

23   rules, you're supplementing the rules that are already there, I

24   assume?     You don't drop any rules, you're just adding them?

25                THE WITNESS:       You are definitely supplementing the


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 1   rules, Your Honor, with, as I mentioned, if you have new

 2   knowledge, you may decide to drop a rule or eliminate a rule in

 3   the sense if, for example, you discover that your old set of

 4   rules was too permissive.            So there might have been a rule that

 5   said allow all data from a particular server, then you discover

 6   that that server is not as secure as you thought it was, that

 7   rule may need to be eliminated and another rule put in its

 8   place.

 9                THE COURT:     All right.             Instead of stopping everything

10   from a particular source, you would just stop part of the

11   material from a particular source?                   Is that what you're saying?

12                THE WITNESS:       That could certainly be.           I mean, there

13   certainly could be --

14                THE COURT:     Or you could just stop everything from --

15                THE WITNESS:       Exactly.           So I don't know if you've

16   ever --

17                THE COURT:     -- a particular source?

18                THE WITNESS:       -- experienced a situation where you

19   click on a link and, for example, your browser tells you this is

20   an unsafe link and just blocks you from doing it, I don't know

21   what the configuration in your courthouse is like in that

22   regard, but that definitely happens.                   You can be completely

23   blocked from accessing an entire website.                   Or you could be

24   blocked from accessing certain content.                   So for example, the

25   courthouse may allow an employee to go to ESPN.com, but because


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 1   videos require so much data, you can only read articles, you

 2   cannot transfer videos.          That would be a very simple policy that

 3   ensures that whoever is a big football fan doesn't clog the

 4   network because they're downloading lots and lots of these very

 5   large videos from the server.

 6              THE COURT:      Okay.

 7   BY MR. ANDRE:

 8   Q.   Go to the '205 patent.             Describe what this patent is about.

 9   A.   The '205 patent is what I'm referring to as the Dynamic

10   Security Policy packet patent.               So essentially there is a

11   Security Management Server that's involved, and that Security

12   Management Server will send these security policies and will

13   dynamically configure, while the system, the network is

14   functioning, it'll dynamically configure the firewalls, the

15   routers and the switches.

16              THE COURT:      You mean by "dynamic" that it switches the

17   rules while continuing to operate?

18              THE WITNESS:        Essentially, Your Honor.        The idea

19   behind a lot of these systems that we're talking about here,

20   this is what typically is referred to as 24/7/365 systems.                That

21   means they have to be up 24 hours a day, seven days a week, 365

22   days in a year.    You can't bring them down.             So what people have

23   invented techniques for, in this particular case what

24   Centripetal invented is a particular technique for dynamically

25   configuring these various devices with security policies so that


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 1   you can, in fact, service the network without any slow-down,

 2   without losing any data and so on, while the network itself is

 3   running.

 4                THE COURT:     So you can change the rules while it's

 5   still operating?

 6                THE WITNESS:       Absolutely.        Not only can you, but you

 7   have to.     So the understanding is that, again, as we all gain

 8   knowledge, even in the real world, the rules of our lives

 9   change.     And in computer networks, these rules could be updated

10   for a variety of reasons, and everything still has to function,

11   because there is an enormous amount of data just traveling

12   around, so you have to figure out a way to change those rules

13   and configuring these devices on the fly or, as they say in the

14   vernacular, in real-time.

15                THE COURT:     Well, do you hit the Pause button to

16   change the rules or what?

17                THE WITNESS:       Well, you can't quite hit a pause

18   button, and you will hear more about these when these patents

19   are described.     But one of the things that you can do is, since

20   computers are fast and doing these configurations with dynamic

21   security policies or switching out rules and so on, as we talked

22   about in the previous patent, that can happen very quickly.                It

23   doesn't happen instantaneously, but it happens very quickly.                   So

24   what you can do, for example, and the patents talk about, is

25   caching.     So you cache the data temporarily, so you put it in a


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 1   special place when it's arriving, and as soon as the rules have

 2   been switched over or as the device has been reconfigured with

 3   the new policies, you quickly empty out that cache so you

 4   rapidly process that data and send it on.

 5              THE COURT:      Well, there has to be some pause of some

 6   nature while you're changing the rules.           It may be done very

 7   rapidly, but I mean, there has to be some pause while the rule

 8   changes of some length.

 9              THE WITNESS:        And it's not -- yeah, it is not

10   instantaneous.    So what the patents do and what is commonly,

11   relatively commonly done also in other distributed computer

12   settings is you will -- since data is coming in, right, and for

13   that short period of time, your router or your switch may not be

14   available because you're changing these rules.           So what happens

15   in that case is you can think of it almost like taking whatever

16   that amount of data is that is arriving while that switchover is

17   happening, just store it on a local disk.           And then as soon as

18   the switchover happens, you grab that data and process it very

19   quickly so that the recipient of the data doesn't perceive ever

20   that there was anything happening with the network.           So their

21   impression is everything went on normally, but of course you as

22   the owner of the network know that you did have that switchover

23   of this dynamic configuration, and during that time all the data

24   that was coming in, you were just storing it for a second and

25   didn't do any processing on it, and then as soon as the new


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 1   configuration is in place, at that point you, in a sense, fire

 2   up the switch again, for example, and then you quickly reprocess

 3   that data and whatever else is coming in.

 4                THE COURT:     Okay.

 5   BY MR. ANDRE:

 6   Q.   Let's talk about the '856 patent.               Describe what we're

 7   looking at with that patent.

 8   A.   Sure.     So this patent deals with that issue that we

 9   discussed before, which is that a huge proportion -- relatively

10   large proportion of the network traffic today is going to be

11   encrypted, meaning that you cannot peek inside the payload to

12   see what's being sent around.               And what that patent teaches is a

13   way of dealing with the encrypted traffic and determining, based

14   on a set of rules, whether that traffic, whether it's

15   non-encrypted or encrypted.              So it works for both types, whether

16   it poses a threat and should be further inspected, and that's

17   what this ramp or offramp, rather, that takes these packets up

18   toward the top, whether they should be further inspected or

19   whether they're not going to be a threat and they're allowed to

20   continue on unimpeded to their destination.

21                THE COURT:     Well, you would have to make that

22   determination, I suppose, based on the source and -- it would

23   have to be based on the source, wouldn't it, if you don't know

24   what's in the packet?

25                THE WITNESS:       One simple way of doing that -- you're


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 1   absolutely correct, that would be based on the source.            So for

 2   example, if the source is untrusted, in a sense, that makes your

 3   job easy.    Nowadays, the malicious agents or players on the

 4   Internet, they're more careful than that.            So they will also

 5   sometimes co-opt legitimate servers to do their evil bidding for

 6   them, if you will.       So in that case, in addition to looking at

 7   the source, you might have to inspect some other information.

 8   You might have to look at the timing of the packets, for

 9   example.    You might have to look at or consider what other

10   packets you may have seen previously so you can identify whether

11   something strange is happening and so on.            But you're absolutely

12   correct:    One way of doing this and one piece of information you

13   absolutely need for something like this is where it came from,

14   because the entire idea is you can't look inside the payload so

15   you can't really know what that payload contains.            Does it have

16   a virus, for example?        The idea is here you want to use other

17   information to inspect the packet.

18               THE COURT:     So you look at the source, plus timing,

19   plus what else could you look at?

20               THE WITNESS:       You can look, you can look at the

21   source, you can look at the timing, you can look at previous

22   packets that have arrived.            You look at whether, for example --

23               THE COURT:     Previous packets from the same source, I

24   guess?

25               THE WITNESS:       If that source for example, or previous


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 1   packets that suspiciously look like they might have -- let's say

 2   you keep getting packets that have identical sizes or packets

 3   whose encryption can be hashed to the same value.                That

 4   basically means that whatever is encrypted inside of it is

 5   encrypted the same way and the data that's encrypted is

 6   identical.     So that might be weird.             Why are you getting

 7   essentially the same encrypted packet so many times?                There are

 8   lots of different things, different --

 9                THE COURT:     Well, how do you know it's the same

10   encrypted data?     I mean, you wouldn't know that.

11                THE WITNESS:       If for example -- so what you can do is,

12   without peeking inside of the packet, the encrypted data is

13   still -- if you think of regular data represented in a computer

14   network as a bunch of ones and zeros.                Encrypted data is still

15   going to be a bunch of ones and zeros at the level in which it

16   gets shipped around, except that to a human or a simple computer

17   program, that bunch of ones and zeros is not going to be

18   meaningful because it's some sort of a cipher.                However, if that

19   bunch of ones and zeros turns out to be identical across

20   multiple different packets, for example, you would ask yourself

21   the question of why am I getting copies of this same packet so

22   many times, for example.            So you don't know what's inside the

23   packet, you just know that it looks weird.                Sort of like getting

24   a relatively small parcel but it's really heavy.                That could be

25   -- or getting a very large parcel and it's incredibly light.


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 1   That could be -- and this happens in a courthouse or if it

 2   arrives on Capitol Hill, for example, it might be a reason,

 3   might trigger some kind of rule that says, you know, this is

 4   atypical, let's figure out what's happened here.

 5                THE COURT:     Well, in other words, you can tell even

 6   though you can't look inside an encrypted packet, you can tell

 7   how much data is in it?

 8                THE WITNESS:       You can tell how much data is in it.

 9   That is correct.     Because one of things in a header is -- so one

10   of the things is which packet in the sequence it is, since this

11   is going to be part of a larger chunk of data, so this is Packet

12   No. 327, and then the other thing that it tells you, the header,

13   that mailing label tells you is how large is the packet?            So

14   that's information that you can obtain in it.          Of course if you

15   can somehow divert this packet and check to see what else is

16   happening, you can check, in fact, how large it is on your own.

17   So you can keep it in some sort of secure environment, this

18   offramp that we showed here, and poke around and figure out how

19   big it is.

20                THE COURT:     Well, you could get around that by just

21   putting 25 percent encrypted -- or somehow it could be malware

22   or whatever -- and then add 75 percent of gobbledegook to it and

23   it would be look to be the same size, wouldn't it?

24                THE WITNESS:       What you are describing is called

25   obfuscation, and that's a --


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                         N. Medvidovic - by Mr. Andre                             49
 1                THE COURT:     Yeah, I run into that in court all the

 2   time.

 3                THE WITNESS:       Obfuscation is a technique that's

 4   sometimes used for legitimate purpose, but you're absolutely

 5   right, these malicious agents, malicious players on the Internet

 6   do those kind of things all the time where they try to disguise

 7   their evil intentions, if you will, by doing that kind of stuff.

 8   And there are also ways of uncovering that.

 9                But one thing, just because -- just by me knowing that

10   somebody's trying to obfuscate something, that already might

11   trigger a level of suspicion.               It might trigger a rule.   You

12   know, if you have nothing to hide, why are you obfuscating,

13   essentially.     So there are these techniques that you can apply,

14   and some of those are -- some of this clever stuff is taught by

15   the '856 patent.

16                THE COURT:     Okay.

17   BY MR. ANDRE:

18   Q.      Let's go to the last patent, the '176 patent.

19   A.      Yeah, the fifth one in the sequence is, this is what we

20   call, what I call a packet correlation patent.               What it does is

21   it essentially looks at packets that come in one way through a

22   router or a switch, packets that go another way to a router or a

23   switch, and it creates these logs and then tries to correlate

24   these packets to try to figure out what, for example, is coming

25   into the network is the same thing that's coming out of the


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 1   network and so on.        So it tries to understand how these various

 2   data packets may relate with one another by inspecting these

 3   logs.

 4   Q.      Does it relate to trying to determine whether or not the

 5   packets are safe or not?            Or secure?

 6   A.      That's one of the reasons you -- one of the important

 7   reasons you want to do this is because, you know, packets could

 8   be -- since you have this very open Internet, any place on the

 9   Internet, any router or any other device could be compromised,

10   and it could do certain things to packets that make them

11   dangerous, that change them in a particular way, that try to

12   snoop inside of them, steal confidential data and so on.                 So

13   what you want to do with something like this as you want to make

14   sure that data has been unadulterated as it travels through a

15   network.

16                THE COURT:     So how is that different than dealing with

17   encrypted?     You can look inside the packet if it's not

18   encrypted, right?

19                THE WITNESS:       You are absolutely correct, Your Honor.

20   The issue here -- you can do that.                 The problem becomes

21   difficult when you consider that you might have billions and

22   billions of these data packets, and you can't afford to look

23   inside of all of them or even most of them because you're trying

24   to make sure your network is as fast as possible.                 People want

25   to, you know, they want to watch their NetFlix or whatever.                   So


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 1   in that case you develop these other techniques that can give

 2   you pointers to what might need to be inspected further, for

 3   example, where you might need to invest your resources so that

 4   if you can identify 98 percent of your traffic as being

 5   completely legitimate, you let it through very quickly, and then

 6   through these correlations of these log entries, if you can

 7   identify that four percent that is suspicious, you are allowing

 8   yourself to maintain this very high, extremely high network

 9   speed, and at the same time not miss potential issues with

10   various security and data privacy concerns that you want to

11   ensure.

12   BY MR. ANDRE:

13   Q.   And for network security, is it important to have many

14   layers of security and many different techniques to try to

15   determine whether or not these packets that come through are

16   legitimate?

17   A.   Absolutely.     It's just like any real-world situation where

18   you are entering an environment that is, that needs to be

19   secured, so that it's sensitive in some way, you are likely

20   going to pass through multiple different layers of tests, and

21   that's what happens in the computer network as well.

22                THE COURT:     Well, if these particular packets that you

23   check on, do you check on every 1,000 packets or do you check

24   randomly?     So many packets out of every 10,000?      How do you

25   decide which ones to check?


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                        N. Medvidovic - by Mr. Andre                             52
 1              THE WITNESS:        Right.        So that's kind of the

 2   million-dollar question, and in some ways obviously you can't

 3   check every one of them.           And if you take pick sort of a

 4   sampling you might get these, might build statistical models

 5   that tell you if you, for example, check every one thousandth

 6   packet you will have 99.7 percent assurance that nothing weird

 7   is going on.    What this patent does is it tries to make that

 8   assurance even higher, because you may do your sampling, but

 9   here I'm also going to see if there are any tells.               So for

10   example, when somebody plays poker they might have a tell and

11   that can tell you if they're bluffing or not.               In this case,

12   these tells could be this data packet coming in to this router

13   had this particular signature, it had this particular

14   information associated with it, coming out of the router it was

15   changed.   Why is that?        So that could be a tip-off that you need

16   to look at this a little bit more -- in a little more detail.

17              So for example, your Log Entry 1 and Log Entry 7,

18   let's say, they're supposed to match up, and somehow they don't.

19   And that triggers, subsequently -- it might trigger some

20   additional action where somebody inspects that and makes sure

21   that nothing strange or malicious is happening.

22              THE COURT:      Okay.

23   BY MR. ANDRE:

24   Q.   Well, let's talk about some of the products --

25              THE COURT:      How much longer are you going to be,


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                        N. Medvidovic - by Mr. Andre                                  53
 1   Counsel?

 2              MR. ANDRE:      Just probably 15 minutes, Your Honor.                Is

 3   now a good time for a break?

 4              THE COURT:      Yes, I think we ought to go ahead and take

 5   a break.   It's approximately 20 minutes to 12:00.                   Let's take a

 6   recess until five minutes to 12:00.                  All right.

 7              MR. ANDRE:      Thank Your Honor.

 8              (Recess taken from 11:39 a.m. to 11:57 a.m.)

 9              THE COURT:      All right.             I believe we had just heard

10   about a patent and we were going to a different subject?

11              MR. ANDRE:      Thank Honor.             May I proceed?

12              THE COURT:      You may.

13              MR. ANDRE:      Thank you.

14   BY MR. ANDRE:

15   Q.   Dr. Medvidovic, we were just ready to talk about a very

16   general discussion as to the accused products in this case, and

17   let's start with the switches, or Cisco switches that are

18   accused.   Could you tell the Court what series of switches we'll

19   be talking about over the next company?

20   A.   These the Cisco Catalyst 9000 platform switches, and there

21   are three different series of products we're going to be talking

22   about in this case, the 9300, 9400 and 9500 series switches.

23   They have a lot of different capabilities that Your Honor will

24   be hearing about over the next several days.                  The one thing to

25   point out is that these switches from Cisco, unlike the


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                          N. Medvidovic - by Mr. Andre                               54
 1   traditional switches back in the day that we spoke about before,

 2   these switches actually have integrated security capabilities in

 3   them.

 4   Q.      So we take -- when you say the different series, the 9300

 5   the 9400 and the 9500, why are there different numbers for these

 6   switches?

 7   A.      They may have different capabilities.              So one of them, for

 8   example, the 9400, it's called stackable, so you can put them on

 9   one another.       Another one might be available in the Cloud and so

10   on.     So their individual sets of features might not be

11   identical, but the core capabilities they do are those of

12   switches, and then with this idea of integrated security on the

13   inside.

14   Q.      Do they all use the same operating system or software for

15   the purposes of this trial?

16   A.      Yes.    I was going to mention this when we talked about the

17   routers.       It's not just switches, but when we talk about the

18   next set of technologies as well, they use the same key software

19   that runs everything on the switch.                 This is the -- it's known

20   as the operating system.

21   Q.      Lets' go to Cisco's routers then.

22   A.      Yes.    So this is, again, these are -- so you think of the

23   switches as that equivalent of that telephone operator

24   switchboard.       Routers are more like the ambulance dispatchers.

25   And there are three different series of products, the 1000


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                         N. Medvidovic - by Mr. Andre                             55
 1   series aggregation services routers, the 1000 series integrated

 2   service routers, and the 4000 series integrated services

 3   routers.    And they are Cisco's -- so they're -- these are the

 4   actual boxes that these products are built as, but they are the

 5   equivalent of these hockey pucks that you see in the upper

 6   right-hand corner in the background.               And so the thing to point

 7   out is that although they might have slightly different

 8   capabilities, their purpose is to ensure in the network high

 9   performance, reliability, and also integrate security, and all

10   of these routers run the same operating system software across

11   the various families or the various series, and it's also the

12   same software that is run on Cisco's switches as well.

13   Q.   Now I want to talk about something Cisco refers to as their

14   Digital Network Architecture.               They call it DNA for short.

15   We'll just refer to it as the Digital Network Architecture.

16   What is the Digital Network Architecture in Cisco's system?

17   A.   So this is an architecture that basically is in charge of

18   network management.        So it does things like configure your

19   network, troubleshooting it and so on.               And it interacts with

20   the routers and the switches, and we'll see that in a diagram in

21   just a second.

22   Q.   In the paragraph describing the Cisco DNA center, it says

23   "Provision and configure all of your network devices in

24   minutes."    What does it mean to provision, in computer science,

25   a network device?


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                        N. Medvidovic - by Mr. Andre                              56
 1   A.   So essentially make it available.              So you can set it up to

 2   use it for whatever purpose it is set up for.              So in this case

 3   this would be provisioning routers and switches, and that means

 4   that after they have been configured by the Digital Network

 5   Architecture, or DNA, they are then capable of being used in the

 6   network and doing the job that they were made to do in the first

 7   place.

 8   Q.   Then the next sentence "Advanced Artificial Intelligence,

 9   AI, and machine learning."

10               THE COURT:     With all due respect, Counsel, I think we

11   ought to have the witness's picture on the big screen instead of

12   yours.

13               MR. ANDRE:     Okay.

14               THE COURT:     I don't know how to do that.

15               MR. ANDRE:     When he talks, Your Honor, he'll come on.

16   When I ask the question it jumps over to me.

17               THE COURT:     I know.         Well, it's been on you while he's

18   talking.    It's not switching over.

19               MR. ANDRE:     Dr. Medvidovic, could you say something

20   and maybe get me off the screen?

21               THE WITNESS:       Yes, this --

22               THE COURT:     Okay.        Go ahead.

23               THE WITNESS:       It's a setting on Zoom.       I hope it's

24   been fixed, Your Honor.

25   BY MR. ANDRE:


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                        N. Medvidovic - by Mr. Andre                             57
 1   Q.     So when the next paragraph talks about "Uses Advanced

 2   Artificial Intelligence and machine learning to monitor,

 3   troubleshoot and optimize your network", what is artificial

 4   intelligence and machine learning in computer science?

 5   A.     So these are ways of having the computer or router, in this

 6   case the software, in a way learn in a similar fashion to how a

 7   human does.    So you basically would observe what's happened in

 8   the past and then based on what it has seen in the past, it

 9   builds, in a way, a model, which is really nothing more than an

10   expectation of what should be true in the future.             So it

11   essentially tries to, among other things, predict, based on what

12   it has seen, what it's likely to see.             And given that

13   information and that knowledge that it has, it can make some

14   decisions that, let's say 10 years ago, might have taken some

15   time to figure out, but in this case this is all kind of

16   happening in real-time so that these intelligent decisions can

17   be made without slowing down the network.

18               THE COURT:     Such as learning which packets to inspect,

19   for example?

20               THE WITNESS:       For example, Your Honor.      So it

21   definitely would learn that packets coming in one part of the

22   network tend to be, let's say, more suspicious.             It might also

23   learn that data tends to cluster around certain times of the

24   day.    So in North America, for example, between 1 and 6 a.m.,

25   the amount of network traffic may go down, but then you will see


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                        N. Medvidovic - by Mr. Andre                             58
 1   peeks, for example, during a work day, and it might decide that

 2   additional monitoring might be need to be done during those

 3   times or additional resources or computers or more servers might

 4   need to be dedicated to it and things like that.          So it can do a

 5   lot these kinds of intelligent decision-making.          Of course it's

 6   all done in the software, which is why it's called artificial

 7   intelligence, but in some way it is intelligent.

 8   BY MR. ANDRE:

 9   Q.   Does it require intelligent feeds or threat intelligence

10   feeds to work on different security?

11   A.   In order for you to do anything with what's referred to as

12   advanced artificial intelligence, and especially machine

13   learning, you need to have a lot of information.          So this

14   intelligence has to come from somewhere.          And the way you like

15   to think about it, the way that computer scientists talk about

16   it, basically, what you get is a lot of data available in a

17   network for example.       The data is, in a sense, it's naked.        It

18   doesn't really have anything meaning behind it.          So you need

19   these facilities to actually turn that data into information,

20   and that information is what's actionable.          That information is

21   what becomes your intelligence based on which you can build

22   these models to adjust the network to do various things with

23   different data that's traveling from various places and so on.

24   Q.   We turn to the next product offering, the StealthWatch

25   product.   Could you generally describe the StealthWatch product?


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                         N. Medvidovic - by Mr. Andre                                   59
 1   A.     So the StealthWatch product essentially provides the

 2   ability to collect various kinds of security analytics, and it

 3   does prediction of advance threats.                    So things that might not be

 4   readily obvious as being malicious, StealthWatch is actually

 5   able to discover those threats.                    It does so with the help of a

 6   couple of other technologies that we'll talk about in just a

 7   second.

 8   Q.     And just for a bookmark in that, what are the other

 9   technologies that StealthWatch works with?

10   A.     So StealthWatch works with Cognitive Threat Analytics,

11   which we'll talk about briefly in a second, and Encrypted

12   Traffic Analytics.        So a lot of the network drive is encrypted,

13   and there is this particular technology that Cisco has that

14   deals specifically with that kind of data.

15                THE COURT:     Now, there were two categories you said,

16   encrypted data and what was the other one?

17                THE WITNESS:       The first one was Cognitive Threat

18   Analytics -- and I will show a slide for each one of them, Your

19   Honor, in just a second.

20                So Cognitive Threat Analytics, Cisco's acronym is CTA,

21   and Encrypted Traffic Analytics, they refer to as the acronym

22   ETA.

23                THE COURT:     Well, let's not use acronyms --

24                THE WITNESS:       Yes.

25                THE COURT:     -- at least at this stage until I learn


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                         N. Medvidovic - by Mr. Andre                           60
 1   what they are.

 2                THE WITNESS:       The only reason I mention it is because

 3   these slides would have gotten really busy, so on the next

 4   couple of slides you will see those two acronyms, but I will

 5   spell them out as I speak about them.

 6   BY MR. ANDRE:

 7   Q.   When we go to the next slide regarding Cognitive Threat

 8   Analytics.

 9   A.   Cognitive Threat Analytics does various things like

10   monitoring like if you have unwanted applications on your

11   computer or somewhere on your network.             It turns out that you

12   may think, well, how could I possibly have an unwanted

13   application, I only have things that I installed?             Turns out

14   that it's possible to get these things sort of surreptitiously

15   installed on a machine so that they watch what's happening, for

16   example, steal one's data and so on.

17        You can also -- Cognitive Threat Analytics also monitors

18   data ex-filtration, meaning somebody somehow trying to get the

19   data that is local and belongs to you somewhere to a remote

20   location so they can look at your private information.             It also

21   monitors for things likes security breaches, for example.             So it

22   does various things that are part of this larger StealthWatch

23   technology.

24   Q.   So the ex-filtration is when the data is sitting on your

25   computer and someone's trying to steal it as opposed to


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                         N. Medvidovic - by Mr. Andre                            61
 1   infiltration?

 2   A.   Exactly.     So they basically find a way of getting to

 3   whatever sensitive portion of your hard disk is and start

 4   siphoning that data off without your knowledge and quietly

 5   sending it to some other remote location.             This actually happens

 6   all the time.     So technology like Cognitive Threat Analytics

 7   deals with that type of issue.

 8   Q.   Go to the next product offering, the Identity Services

 9   Engine.     What is that?

10   A.   Identity Services Engine basically ensures that you can

11   have access to your network, to your resources, from wherever

12   you are.     So this is -- and it's trusted access.          And this is

13   why it also has this symbol with the fingerprint.             It provides

14   network-based security regardless of what the actual physical

15   location is from which a user is trying to access that data.

16   Q.   And the next one is the Encrypted Traffic Analytics?

17   A.   The Encrypted Traffic Analytics is also a thing that goes

18   with StealthWatch, although as we'll see in a slide or two, it

19   gets also placed on, for example, Cisco's switches, and it deals

20   with being able to track and analyze this encrypted traffic

21   without actually having to decrypt it.             Decrypting is expensive.

22   First you have to figure out how to do it; in other words, what

23   the cipher is, and also doing that whole process can take a lot

24   of time.     So what Encrypted Traffic Analytics does is it does

25   this tracking and analyzing based on this other information that


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                        N. Medvidovic - by Mr. Andre                                62
 1   we spoke about, Your Honor, before the break:                  Things like where

 2   it's coming from, how often it arrives, what its size it, where

 3   it might be heading and so on.               It uses that kind of information

 4   to track it and analyze it and figure out what might be going on

 5   on the network.

 6               THE COURT:     Well, it doesn't -- actually it can't look

 7   at what it's not supposed to see, it just has to use other

 8   sources or functions to try to figure out what may be in there.

 9   Well, they can't figure out what may be in there, they can

10   figure out whether it should be blocked.

11               THE WITNESS:       Exactly.           And very often, very often you

12   don't necessarily care what's inside of it per se.                  The

13   important information to you is, is this dangerous?                  That is

14   what -- that's something that's actionable.

15               THE COURT:     Okay.

16   BY MR. ANDRE:

17   Q.   I notice in the slide there it says it's a component of

18   switches, routers, the Digital Network Architecture and

19   StealthWatch.     Is this just like a solution or software sitting

20   on all these different devices?

21   A.   Yes.    And when we -- I think we have a slide coming up that

22   has this kind of more complete picture of what a Cisco-enabled

23   architecture may look like.             So you will see this yellow

24   button -- I'm sorry, orange button with ETA on it in various

25   places because this software ends up playing roles in all of


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                        N. Medvidovic - by Mr. Andre                                  63
 1   these various parts of the different switches and routers.

 2   Q.   You're looking at encrypted traffic as prevalent in all

 3   these different spaces?

 4   A.   Absolutely.    Because encrypted traffic is so prevalent in

 5   computer networks today, you have to account for it in all kinds

 6   of different settings and scenarios when you're trying to ensure

 7   your network's reliability, performance and security.

 8   Q.   Let's talk about the Cisco's firewalls that are involved in

 9   this case.

10   A.   There are five different sets of firewall products.                  What

11   they call the Cisco ASA 5500 with Firepower, ASA stands for

12   Adaptive Security Appliance.              These are actually Cisco products

13   in the upper left-hand corner.               These are firewalls that are

14   getting phased out, but the other four series of firewalls, the

15   1000, 2100, 4100 and 9300, these are Cisco's Firepower firewalls

16   at issue in this case and that are still being actively worked

17   on by Cisco.

18   Q.   Are these Firepower series, are they the follow-on to the

19   ASA firewalls?

20   A.   Yes.    They provide some services that are similar -- or the

21   same and some other services that are innovations, obviously,

22   just like a technology company would introduce them to their new

23   products.

24   Q.   Let's go to the Firepower Management Center.               Can you

25   describe what that is?


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                         N. Medvidovic - by Mr. Andre                             64
 1   A.    Sure.     The Firepower Management Center is -- and again,

 2   this is the symbol of the firewall that we used before on the

 3   left-hand side with the brick wall, but you will see the same

 4   flame symbol in Cisco's own schematic, if you will, logo and for

 5   the Firepower Management Center or the FMC at the top of this

 6   diagram.      And it basically does things that a firewall, you

 7   would think that the firewall would do; things like managing

 8   your network at that particular point in the network, protecting

 9   against malware, checking and blocking attempts at malicious

10   intrusions into your network and things like that.

11   Q.    Let's show a slide how the switches are integrated into a

12   network with Cisco's system.               Could you describe how it's set

13   up?

14   A.    Sure.     So what you see at the center of this diagram is one

15   of the Cisco switches.          And all of the switches work in

16   essentially the same way.            So you can imagine any one of the

17   three different series of switches that we talked about before

18   working the same way.         And what it does is this particular

19   switch enables the interaction of those two computers and those

20   two printers.      And what it does is, on it, it has this Encrypted

21   Traffic Analytics.       That's the ETA button.          It communicates with

22   the Digital Network Architecture, which is -- it has the DNA

23   symbol.     And then the Digital Network Architecture also has its

24   own copy of Encrypted Traffic Analytics.               The switch also

25   interacts with StealthWatch.               StealthWatch has both the


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                        N. Medvidovic - by Mr. Andre                        65
 1   Encrypted Traffic Analytics, which is the orange button, and the

 2   Cognitive Threat Analytics, which is the purple button.

 3        And StealthWatch, in addition to talking to the switch, it

 4   communicates with the Identity Services Engine, and then the

 5   Identity Services Engine itself, this fingerprint button with

 6   the blue color and the letters ISE in it.          So the Identity

 7   Services Engine also interacts with the switch.          So there is

 8   quite a bit of functionality put together to enable Cisco

 9   switches to provide some of these security and network analytics

10   types of functionalities that we talked about before.

11   Q.   Is this an example of the distributed computing that you

12   were talking about earlier?

13   A.   It absolutely is.         Not only are there different services

14   provided by Cisco itself, for example, the Identity Services

15   Engine has to communicate with the software that runs on the

16   switch itself, but of course the switch by definition enables

17   distributed computation because you now have these two computers

18   and these two printers and they can see, mostly operate, with

19   one another seamlessly.          So you can pick one printer if you want

20   to print a document on, or you could have one computer access

21   information, send email, communicate in whatever other ways with

22   the other computers.

23   Q.   Let's show how the Cisco products interact with routers.

24   The next line.

25   A.   So if this particular figure looks similar to the figure,


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                        N. Medvidovic - by Mr. Andre                                  66
 1   that's because it is very similar.                Routers, of course, enable

 2   these small sub-networks that are connected by the switches to

 3   be connected in larger networks, which we spoke about before.

 4   So this is one example of a Cisco router in the middle, that

 5   gray box, and on it, again, just like with the switches, the

 6   router itself has the Encrypted Traffic Analytics.                And then I

 7   mentioned this before, both the routers and the switches run the

 8   same operating system, and their capabilities are very similar

 9   when it comes to things like threat analytics and security and

10   so on.     So what you see on the bottom, the bottom left of this

11   figure are the same exact technologies, the Digital Network

12   architectures, StealthWatch, the Identity Services Engine, the

13   Encrypted Traffic Analytics, the Cognitive Threat Analytics,

14   that's exactly the same as we saw on the switches of the

15   previous slide.

16   Q.      Let's see what the Cisco firewall products look like in a

17   network.

18   A.      So on the right-hand side, at the top of the slide you have

19   the router and the switches that we talked about before.                   And

20   then in the middle now you have a Cisco firewall product.                   It's

21   one of the five products that we discussed that are part of this

22   case.     And that firewall product interacts with the outside

23   network, so this server shown on the left-hand side.                And of

24   course on the right-hand side is the protected part of the

25   network, so whatever the firewall itself protects.                And to


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                        N. Medvidovic - by Mr. Andre                              67
 1   ensure whatever security capabilities it has, it has to interact

 2   with the Firewall Managing Center, which is the circle that has

 3   that flame symbol on it, and that provides all that firewall

 4   management and malware protection and prevention of intrusions

 5   and so on.

 6   Q.   If we go back to the slide that you showed the basic

 7   network structure earlier, now could we superimpose on that

 8   slide how Cisco's secure network interacts with the basic

 9   network?

10   A.   Yes.    So again, just to keep in mind that this is a very

11   simplified view of what the computer network may look like,

12   because it only has a couple switches and one router and one

13   firewall, and a real network will have hundreds and thousands of

14   these things.    But Cisco's technology that we just discussed

15   maps to this picture in the way that is shown here.              There are

16   these technologies or solutions that Cisco provides, the

17   Firepower Management Center which provides the threat

18   intelligence to Cisco's firewalls, and the Identity Services

19   Engine and StealthWatch and the Digital Network Architecture

20   with two different software capabilities or technologies.              The

21   ETA, which is Encrypted Traffic Analytics, and CTA, which stands

22   for, again, Cognitive Threat Analytics, so the orange and purple

23   button, even though they're kind of grouped just because it's a

24   single slide overlapped over the top, all of them apply to both

25   the routers and the switches.              Again, I think it's important to


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                        N. Medvidovic - by Mr. Andre                           68
 1   stress that because Cisco's routers and switches share that part

 2   of their, key part of their software.

 3        And then of course the Encrypted Traffic Analytics also

 4   resides -- a copy of it, if you will -- also resides on all of

 5   Cisco's switches and Cisco's routers.             So when you kind of

 6   compose it all together, you get this relatively complex picture

 7   of a network that does a whole bunch of different things.

 8   Q.   We have the threat intelligence coming down from the Cloud

 9   into these systems making, what was dumb before, smart systems,

10   what is threat intelligence?

11   A.   Threat intelligence is essentially that actionable

12   information that we talked about before; the thing that results

13   from huge amounts of data being observed and information being

14   extracted from them and then being built into these models of

15   what might be happening in your system.             So that intelligence is

16   what is actually actionable to the firewall, routers and

17   switches so they can not only be highly efficient, but they can

18   also provide the level of security that Cisco in this case

19   intends them to have.

20              MR. ANDRE:      Thank you, Dr. Medvidovic.

21              Your Honor, that concludes our tutorial unless you

22   have any questions for Dr. Medvidovic.

23              THE COURT:      Okay.        The term "threat intelligence",

24   that means what the system would detect that would cause it to

25   change its rules; is that correct?


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                        N. Medvidovic - by Mr. Andre                               69
 1               THE WITNESS:       That is certainly one thing that it

 2   might do.    Just like any in the real world, when people collect

 3   intelligence on another country or another company, some things

 4   may be immediately actionable.               And in the example Your Honor

 5   just brought up, it might result in you changing the rules.

 6   Other things you might just elect to kind of sit and watch.                  So

 7   some of the intelligence could be relevant, you know, two hours

 8   from now, for example.         Even though right now you have that

 9   information, what it applies to has not occurred yet, in a way.

10   And part of this advanced artificial intelligence and machine

11   learning that we saw in that one slide from one of the Cisco

12   technologies, part of that is this ability to try and predict

13   what you might see.       What a computer might see in the future.

14   So certainly some of it is actionable immediately -- you know,

15   this is bad, block it, act on it right now -- and the rest of it

16   could be something that you should watch out for based on what

17   has been seen in the past.

18               THE COURT:     Okay.

19               THE WITNESS:       In a way when you --

20               THE COURT:     So it creates what we might describe as

21   artificial intelligence that enables the system to either act on

22   it or put it in a category of something to watch out for?

23               THE WITNESS:       Essentially.        And it also allows the

24   system to possibly predict what's going to happen on the network

25   in the future so that it can more intelligently or more


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                        N. Medvidovic - by Mr. Andre                                      70
 1   efficiently provision its resources.                   So some of these models

 2   could actually tell you how the network is likely to behave in

 3   some respect at some point in the future based on this

 4   intelligent predictive capability from what they call, again,

 5   advanced artificial intelligence and machine learning.

 6               THE COURT:     All right.

 7               THE WITNESS:       So the way I liken this to the real

 8   world, if one watches a movie that involves, for example, spies,

 9   then you might hear somebody say "We've picked up a lot of

10   chatter."     Immediately that chatter, for example from a

11   terrorist organization, that chatter might not be immediately

12   actionable, but it gives them pause.                   It makes them listen for

13   it more, and watch what else might be happening.

14               THE COURT:     All right.              Thank you.

15               Does that complete your presentation, Mr. Andre?

16               MR. ANDRE:     It does, Your Honor.                 We'll turn it over

17   to Cisco to let them give their tutorial at this time.

18               THE COURT:     Okay.

19               MR. GAUDET:      Thank you, and good morning, Your Honor.

20   Matt Gaudet on behalf of Cisco.                   Our tutorialist will be

21   Dr. Kevin Almeroth.       And there is Dr. Almeroth.                 Just be sure

22   that he has control of the slides before we begin the

23   proceeding.

24               COURTROOM DEPUTY CLERK:                 Mr. Almeroth?

25               THE WITNESS:       Yes, ma'am?


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                            K. Almeroth - by Mr. Gaudet                                 71
 1                   COURTROOM DEPUTY CLERK:              Would you please raise your

 2   right hand?

 3                   KEVIN ALMEROTH, having been duly sworn, was examined

 4   and testified as follows:

 5                   MR. GAUDET:     Thank Your Honor.           Dr. Almeroth will

 6   present a tutorial that will cover some of the same ground, and

 7   perhaps some of them overlap, we can go through a little bit

 8   quicker, but then we'll also offer some additional points that

 9   we think are important as you face the various issues in this

10   case.

11                   With Your Honor's permission, may I proceed?

12                   THE COURT:     You may.

13                   MR. GAUDET:     Thank you.

14                        TECHNOLOGY TUTORIAL OF DEFENDANT

15   BY MR. GAUDET:

16   Q.      Dr. Almeroth, would you introduce yourself to the Court and

17   tell the Court about some of your background qualifications to

18   give this tutorial?

19   A.      Sure.     My name is it Kevin Almeroth.              I've been a professor

20   in the department of computer science at the University of

21   California at Santa Barbara for about 23 years.                    Before that I

22   spent nine years at Georgia Tech.                    I got a Bachelor's, a

23   Master's and a Ph.D all in computer science with an emphasis on

24   networking.        So for the last 30 years or so I've been working in

25   computer network technology, computer security and Internet


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                         K. Almeroth - by Mr. Gaudet                                 72
 1   technology.

 2               MR. GAUDET:      Thank you.           If we go to the next screen

 3   there, Dr. Almeroth?

 4               Your Honor, we've broken this tutorial into four basic

 5   segments.     This presentation structure is up on the screen.              And

 6   what we plan to do is go one by one through these four modules,

 7   if you will, and at the end of each, we'll stop for a summary

 8   and to be sure that if there are any other questions that you

 9   hadn't had a chance to ask, that we want to obviously be certain

10   that we're responsive to anything.

11               THE COURT:      All right.

12   BY MR. GAUDET:

13   Q.   The first module is just the basics of networking.                 Sort of

14   how the Internet works.          Dr. Almeroth, will you give the Court a

15   tutorial on the basics of networking?

16   A.   Yes.     And I will do my best not to cover the same ground.

17   What I will do is where I have slides that overlap, I'll just

18   indicate that there's an overlap there, likely just move on if

19   there are no questions.

20        I think that where I start my tutorial is a little bit

21   different than Dr. Medvidovic.               I start off with the Internet as

22   a cloud.    The idea is that the Internet is large, it's complex,

23   it spans the entire world.            So to start to understand some of

24   the technology of the patents and accused products, it's

25   important to treat that Internet as an onion, try and peel back


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                         K. Almeroth - by Mr. Gaudet                           73
 1   some of the layers.

 2        The first place that I want to start with, the idea that

 3   the Internet really connects an array of businesses and

 4   different kinds of users.           For example, you'll see companies

 5   that provide content, things like Amazon, NetFlix, Google.              Zoom

 6   is on here, right?      Without the technology of the Internet and

 7   the technology of these content-providing companies, we wouldn't

 8   be able to do this trial today.

 9        In large part, those businesses that are providing content

10   using the Internet do so to a fairly broad array of users.              They

11   could be users in their individual homes, there can be small

12   business networks, large business networks, government networks.

13   And some of these networks that connect through the Internet

14   span hundreds of nodes or thousands of different computers.

15        So the next kind of step to understand how all of these

16   different devices are connected together is to look at what's

17   inside of the Internet, sort of its core or sometimes what's

18   called its backbone.        And the analogy that I would draw here is

19   Dr. Medvidovic used the idea of the phone system.             And it's very

20   similar in the sense that if you have one user who connects to

21   the Internet through EarthLink, it might be possible they want

22   to send an email to somebody who is at the courthouse.             So there

23   needs to be a mechanism through this core of the network,

24   through this backbone of the network.             So I have a slide, Slide

25   6, that breaks down that Internet into a set of different


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                         K. Almeroth - by Mr. Gaudet                                74
 1   service providers.      So the idea is that the Internet is really a

 2   network of networks; meaning you have lots of different service

 3   providers who are all connected together, all of whom have

 4   customers.     Those customers are connected to other customers,

 5   and probably the analogy of either the Post Office or the phone

 6   system works, right?        But if I want to send a letter to somebody

 7   in Italy, it will be on the United States Postal Service for

 8   some portion of that trip, and then it will convert to possibly

 9   the UK or go directly to Italy.                   But the idea is all these

10   different networks cooperate together to connect all of the

11   users with all of the different businesses to exchange data the

12   world over.

13        Now --

14   BY MR. GAUDET:

15   Q.   If I could interrupt just to ask you a clarifying point so

16   that the Court sort of sees the correspondence between this and

17   what Dr. Medvidovic did.           Do you recall the slide that had the

18   United States and about two dozen routers and someone at ESPN in

19   Connecticut over to someone in Seattle, Washington?                   Do you

20   recall that?

21   A.   Yes.

22   Q.   Would those routers -- and it was represented there as a

23   couple dozen routers -- would those appear in this big cloud?

24   Is that sort of the reference of that network of routers that

25   gets things from one point to the other?


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                         K. Almeroth - by Mr. Gaudet                                     75
 1   A.   That's right.        All of these different networks are composed

 2   of routers, and those routers work to move the data that's being

 3   communicated around the network.                  I'll go back to the Post

 4   Office analogy, right?         If I put a letter into the mail, it gets

 5   carried to my local post office, then they sort it, they decide

 6   where it should go, and maybe it goes to the central facility in

 7   Los Angeles and maybe it gets put on a plane and flown across

 8   the country to Washington, D.C., and then you would look it the

 9   headers in the packets and try and decide where this data should

10   be routed.     So the concept of routing data in the Internet is

11   not really new, it's kind of borrowed from other analogies.                     But

12   the idea in the Internet with all of these different providers

13   is that data gets passed around in different routers and it's

14   the routers that decide what to do so the packets can go from

15   their source to their destination.

16        Now, in order to enable all of this kind of communication

17   there's a series of standards that are used in the Internet.

18                THE COURT:     Let me ask you a question.

19                THE WITNESS:      Yes, sir.

20                THE COURT:     Why do you have NetFlix, FaceBook, Amazon

21   and Google outside of the Cloud and those other four entities

22   inside of the Cloud?

23                THE WITNESS:      Excellent question.           So the entities

24   outside of the Cloud aren't really considered to be in the

25   network.     They are, in fact, running their own networks.                  They


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                         K. Almeroth - by Mr. Gaudet                            76
 1   connect to this Internet, the Internet, in order to send their

 2   data to users.     So think about this again from the Post Office

 3   analogy.     The Post office analogy is worldwide, it consists of a

 4   lot of different countries.             They would be in that center cloud

 5   in the middle.     Now, companies or people would send letters to

 6   each other and it would arrive into the Post Office as soon as

 7   you put it into one of the blue boxes or dropped it off in the

 8   mail slot.     Companies can do that as well.          So they use the same

 9   infrastructure.

10                Now in the Internet you have different called service

11   providers like EarthLink, Verizon, AT&T and Cox.             They're the

12   networks whose business it is to connect users and businesses

13   together.     So it's through their networks that they connect

14   users to data.     So for example, EarthLink makes money by

15   charging people to connect to their network, and then it

16   receives data from those users and delivers it to whatever the

17   destination would be.        And so there's slightly different kinds

18   of businesses and service providers to the companies that

19   provide the content to the user.

20                THE COURT:     Okay.       So if they're outside the Cloud,

21   they either supply or receive content and if you're inside the

22   Cloud you just circulate it?

23                THE WITNESS:      That's right.      You're a transit

24   provider.     So for example there are companies -- you asked this

25   question of Dr. Medvidovic, that there are companies that manage


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                          K. Almeroth - by Mr. Gaudet                                77
 1   the undersea cables that go from California to the Pacific Rim,

 2   from the East Coast to the UK.                So they make money by deploying

 3   that infrastructure, charging companies that want to deliver

 4   their content over those particular cables.

 5                One of the things that was kind of impressive is

 6   obviously the Internet as a network of networks has to work

 7   worldwide through all sorts of different countries and

 8   languages.     And it does so based on standards.               It does so using

 9   protocols.     The specific ways of communicating the exchange of

10   data.     I think it's relevant for the purposes of this case to

11   point out that one of the important standards organizations is

12   call the IETF, Internet Engineering Task Force.                  And they

13   developed many of the standards that relate to the Internet.

14   Those standards are called Requests for Comments.                  It's a little

15   bit of a historical acronym, but that's what the standards are

16   called.     So a common protocol like IP or HTTP have standards

17   that are published --

18   BY MR. GAUDET:

19   Q.      Dr. Almeroth, I'm going to stop you there only because you

20   used a acronym before saying what it meant.                  So if you could,

21   before you -- even if it's just an example, it's probably a good

22   thing just to be sure you actually say it out.

23   A.      Yes, sir.   Was it IP or HTTP?             Okay.   So IP is the Internet

24   Protocol.     HTTP is the Hypertext Transfer Protocol.               HTTP is

25   used in web pages to transfer data over the web, and then IP is


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                         K. Almeroth - by Mr. Gaudet                          78
 1   really one of the building blocks that allows data to use the

 2   web.

 3          All right.   With that, again, I want to go back to the

 4   Internet as a Cloud.        And this is also, I think Dr. Medvidovic

 5   talked about the idea of the Cloud for computing and storing.

 6   Again, there are companies that would connect to this Cloud and

 7   that's why it's called Cloud computing or Cloud storage.

 8                THE COURT:     Okay.       Well, that last slide you showed me

 9   just illustrates that there is -- not this one, but the one

10   after that -- it just shows that there's a organization that

11   establishes protocols for how information is going to be

12   circulated.     Is this an international protocol?

13                THE WITNESS:      It is.

14                THE COURT:     Okay.       Who determines the protocol?

15                THE WITNESS:      There are meetings of this organization,

16   and different people who wish to contribute to these standards

17   will show up at these meetings and they will make suggestions

18   about what the rules should be for what these standards should

19   look like.

20                THE COURT:     Is this an international body then?

21                THE WITNESS:      Yes, it is.

22                THE COURT:     So everybody, all the countries join

23   together to establish an international protocol?             We don't have

24   different protocols in every country, it's one protocol that

25   applies internationally?


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                         K. Almeroth - by Mr. Gaudet                             79
 1              THE WITNESS:        That's correct.      And many of the

 2   companies who sell products, it's in their interest to make sure

 3   that these standards are well understood and easy to deploy so

 4   that there's no confusion.            So for example, companies like Cisco

 5   participate in some of these organizations.             I as a researcher

 6   have written some of these Requests For Comments standards.

 7   I've published them at the IETF and have become standards that

 8   are in use.    So it's countries and companies and researches, all

 9   who are trying to define the way the Internet should work for

10   the best interests of the Internet.

11              THE COURT:       Is this a non-profit organization?

12              THE WITNESS:        It is.

13   BY MR. GAUDET:

14   Q.   Dr. Almeroth, to round that out, is that why, for example,

15   manufacturers that are operating on their own can build

16   equipment knowing that, if you send something on a piece of

17   Cisco equipment, for example, and it gets received by a

18   competitor's piece of equipment, they can still be sure they're

19   going to be able to communicate with each other?

20   A.   That's correct.

21              THE COURT:       Okay.

22   A.   I mean, there's other standards organizations, obviously,

23   for non-Internet standards.             They define what the voltage is,

24   what plugs will look like.            There are all of those kinds of

25   standards for the Internet as well, and many of them come from


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                         K. Almeroth - by Mr. Gaudet                                   80
 1   the Internet Engineering Task Force.

 2                THE COURT:     Okay.

 3   A.   Okay.     Moving on to Slide 8., one of the things I've done

 4   is kind of shrunk the Internet down, because I want to give a

 5   few examples of kinds of networks that users or businesses might

 6   use to connect to the Internet?                   And so the first one I'd add is

 7   kind of a small fairly simple network, and it shows three users

 8   on different kinds of devices.               So this might be a kind of

 9   network like what's in my house.                   So you'll have User 1 is a

10   personal computer, and User 2 on a laptop, 3 on a tablet.                   And

11   those computers would connect to a gateway or a router.                   I think

12   Dr. Medvidovic talked about switches and routers and briefly

13   described what those are.           Essentially those kinds of devices

14   allow somebody in their house to then connect to their service

15   provider.     So if I have Verizon service at home, I would use one

16   of these routers to connect my home network to the Internet.                      So

17   I would have a phone connection or some sort of connection that

18   would then connect it to the Internet.

19   Q.   Dr. Almeroth, in this image before we move on to the next

20   one, in addition to the word "Router" there, it also says

21   "Gateway".     And what's the significance of that word, "Gateway"?

22   A.   Right.     The one concept I will discuss in more detail later

23   is that, when you have a network of networks, there's usually a

24   boundary between one network and another network.                   My network

25   and my neighbor's network.            The courthouse's network from the


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                         K. Almeroth - by Mr. Gaudet                                 81
 1   law office's network.        So there's boundaries.           And usually at

 2   the boundary of one of these networks is a gateway.                 And this

 3   will become important when it comes to security because, as I'll

 4   show, that within a network I might trust all of the people that

 5   are in my house, but when I go out into the Internet at large,

 6   I'm exposed to hackers and people who want to steal my data,

 7   then that portion of the network will be untrusted.                 So you'll

 8   see, for example, around the three users in my house, a little

 9   box.   So that indicates kind of my network separated from the

10   rest of the network.        Even though I can connect to it, I try and

11   protect the computers in my network from somebody on the outside

12   of the network.

13              THE COURT:       Well, you're connected to the Internet by

14   paying somebody to connect you, right?

15              THE WITNESS:        Yes, sir.

16              THE COURT:       And that person doesn't provide any

17   security for you unless you buy it independently, do they?                 I

18   mean, unless you pay extra to get security.

19              THE WITNESS:        Exactly.

20              THE COURT:       So anything that you've got on your

21   network, whether it's at your office or your home, can be

22   observed by anyone else unless there's some security between you

23   and the Internet?

24              THE WITNESS:        Yes, sir.          That is absolutely correct.

25              THE COURT:       Okay.


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                         K. Almeroth - by Mr. Gaudet                               82
 1   BY MR. GAUDET:

 2   Q.   Dr. Almeroth, just to maybe put one final point on that.

 3   You recall the device, the firewall discussion from Dr.

 4   Medvidovic?     The third major device called the firewall?

 5   A.   Yes.

 6   Q.   Just using this very simple example, where would the

 7   firewall in this image go if we were to include the firewall?

 8   A.   It could go one of, actually, several different places.

 9   You could have a firewall that sits between the gateway, router

10   and the Internet as a separate -- sometimes it's called an

11   appliance.     Like a separate device.            You could include a

12   firewall inside of the gateway or the router itself.               Dr.

13   Medvidovic said that that traditionally hasn't been done.                I

14   actually think it's been done for at least a couple of decades.

15        You could also put additional protections or firewalls

16   further into the network.           Maybe not in my home, but in a more

17   complex business network you might have additional firewalls and

18   other routers in the network.

19                THE COURT:     In other words, the person you pay to

20   connect you could also pay to provide you security which would,

21   if it was at that site, it would protect anybody who subscribed

22   to their services, I guess?

23                THE WITNESS:      That's correct.        And that's -- I think

24   Dr. Medvidovic described multiple lawyers.               I have a slide later

25   on that talks about defense in depth:               The concept that you can


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                            K. Almeroth - by Mr. Gaudet                                   83
 1   have multiple layers of security, you can pay multiple different

 2   kinds of companies to provide security in different ways.                      You

 3   could have passwords on your computer that would prevent people

 4   from accessing data.           That will become very important in this

 5   case.

 6                   THE COURT:     All right.

 7   BY MR. GAUDET:

 8   Q.      If you would proceed with your explanation, Dr. Almeroth?

 9   A.      Yes.     So I have two additional builds on Slide 8, and the

10   whole point of these two additional builds is to introduce some

11   additional terminology really to get at the point that they're

12   networks with increasing complexity.                      So in the lower left I've

13   added Network 2.        I've now added routers and switches inside of

14   that network.        I have additional users.                And then in the lower

15   right-hand corner of that box that's labeled the Server.                      So now

16   this might be more like a business or it might be a government

17   office.        So this business now has a server that it wants to make

18   available, potentially, to the public, the information on that

19   server that users can then request from either in that network

20   or outside that network.

21   Q.      Dr. Almeroth, again, just a point, just to be sure that

22   we're all on same page about what a server is as opposed to

23   other kinds of computers, what sort of information, for example,

24   might be kept on a server somebody might want to have access to?

25   A.      It might be entertainment.                   So for example, it could be a


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                         K. Almeroth - by Mr. Gaudet                                 84
 1   movie or an electronic book.              It could be, say, the courthouse

 2   where the courthouse makes documents available to the public, or

 3   rulings.   So those documents would be stored on a server and

 4   then designated for access by the public.                I think consistent

 5   with the discussions we've had on security, it could certainly

 6   get much more complex.

 7              THE COURT:       Well, you could put on the server some

 8   sort of security.

 9              THE WITNESS:        That's right.         You might have --

10              THE COURT:       I just had a case that involved case

11   filings and court rulings being made available to the public,

12   but then you also have documents that are filed under seal, and

13   I suppose you could put on the server some sort of software that

14   would prevent such documents from being made available to the

15   public while other documents were.                The server could serve as a

16   place to put security, is that accurate?

17              THE WITNESS:        Absolutely.         Absolutely.   And I think

18   your intuition serves you well, that you were starting to sense

19   just how complex networks can be and how much demand for

20   different types of security in different places.                 And in fact

21   this third build-out shows it an even more complex network.                    And

22   now what you see is you might even be able to take portions of

23   your network and say the servers on this portion of the network,

24   kind of lower half of Network 3, are things that can be accessed

25   by the public through that gateway, but Users 1, 2, and 3 at the


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                         K. Almeroth - by Mr. Gaudet                                   85
 1   top are on a private network inside the courthouse.                  There's no

 2   reason for anybody outside of the courthouse to be accessing

 3   those computers.    So you can put in security gateway, routers

 4   along the path, the servers, the user computers, lots of

 5   different places and lots of different types of security.

 6               THE COURT:      Well, I could write a draft of an opinion

 7   that would only go to User 1, 2 and 3, or User 1, 2 or 3.

 8               THE WITNESS:       That's correct.

 9               THE COURT:      And that way the public couldn't see the

10   draft.    Then when I issue the final opinion you send it down to

11   the bottom and it's accessible to the public.                  In other words,

12   they can't see the drafts, they can only see the final opinion.

13               THE WITNESS:       That's correct.           And so if you go to

14   your network administrator and say the courthouse network should

15   be set up this way, that person has the responsibility of

16   figuring out what kind of commercial products should be used to

17   implement that kind of security.                  It's a hard problem.

18               THE COURT:      But there's a path from the lower section

19   to the top section.       Why do you have a path there if Computers

20   1, 2 and 3 are only going to get certain information and people

21   at the bottom get -- or vice versa, actually, in this case?

22               THE WITNESS:       Well, when you're finished drafting that

23   opinion and you're ready to release it, that opinion has to get

24   on the server at the bottom.              And so you will use a pathway from

25   your computer to publish that decision on that server.                   Now it


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                         K. Almeroth - by Mr. Gaudet                                 86
 1   turns out that that pathway between those layers needs to be

 2   protected very carefully to not allow somebody to infiltrate

 3   your network by using that path.                  So there's security to be

 4   implemented between those two routers to monitor that path very

 5   closely.

 6   BY MR. GAUDET:

 7   Q.   Dr. Almeroth, just in terms of the timing that you're

 8   talking about, you know, the notion of having various kinds of

 9   security on routers and switches that are inside of the network,

10   is that something that just came about in the last few years or

11   has that been around for a while?

12   A.   No.    I've got a couple of slides, but kind of the key point

13   is that when the Internet really started having e-commerce, when

14   there were businesses selling things on the Internet, people

15   were exchanging credit card numbers, that really happened in the

16   mid- to late '90s.      So computer security and network security

17   really started to take off about 25 years ago.                  Even over the

18   last 15 years, a lot of these problems have been exposed and

19   dealt with by commercial offerings.

20   Q.   Unless the Court has further questions, if you would

21   proceed?

22   A.   Yes.    So what I wanted to do is I wanted to take this

23   Network 3 and isolate it as you see here on Slide 9.                  I'll come

24   back to this slide to really show some of the next set of core

25   concepts that I want to go into.                  You see the title of the slide


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                         K. Almeroth - by Mr. Gaudet                                  87
 1   is called an Enterprise Network.                  So an enterprise like a

 2   business.   And again, the point I would have made here but I

 3   I've already made in part, is that it's this whole network that

 4   has to be managed by, say, the network administrators for that

 5   organization.     So if this were, say, the courthouse in Norfolk,

 6   the administrators of this network wouldn't just trust the

 7   people in the Internet to do the right thing.                  So you build

 8   security into the network to protect that network from outside

 9   people who would attempt to misuse it.

10        So the idea of an enterprise or sometimes called a domain,

11   is really an enclave or a protected domain in which computers

12   can be protected as a group.

13   Q.   Dr. Almeroth, when you refer to sort of the administrators

14   of the network, you mean for example what we sometimes call the

15   IT person who actually knows how everything works so that people

16   like me who just want to see the computer on can do that, and

17   they'll take care of the details?

18   A.   That's right.      IT staff, usually if it's got more than a

19   few switches and routers, it's going to be more than one person.

20   But yes, the IT staff.

21        All right.    The next concept I want to get across I think

22   is one that we've covered in some detail.                  So I'll probably go

23   through the next set of slides more quickly.

24        The first is an animation that really just shows that you

25   can send packets between users and you can send packets from


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                         K. Almeroth - by Mr. Gaudet                                  88
 1   inside of the network to outside of the network.                  This slide

 2   introduces the concept of a packet.                  Dr. Medvidovic introduced

 3   that concept.     It's really the idea that instead of exchanging,

 4   say, large files like the movie or the document, if it's made

 5   available on the Internet, it's divided up into these small

 6   pieces of data called packets.               So the packets will flow around

 7   the network through the routers between sources and

 8   destinations.     So the concept of a packet is one that I want to

 9   expand on in a little bit of detail.

10        Now, the other point that I would make is I showed a couple

11   of simple examples of data packets.                  The reality is kind of

12   Slide 10 shows that you can imagine that on a network there's

13   thousands if not millions of packets flowing around that network

14   per second.     So in the course of trial already, the tutorial

15   already, there have been millions and millions of packets being

16   exchanged among all of the different participants.                  So you can

17   imagine, once you expand out of this enterprise network, the

18   network at large, that there are billions and trillions of

19   packets exchanged throughout the entire world.                  It's through all

20   of these protocols, these rules for communication, that

21   facilitate the delivery of data.                  So part of what is going to

22   happen and part of what we need to secure is these packets being

23   delivered through these routers.

24        When Dr. Medvidovic used the analogy of a packet being a

25   package with a label on it, I have a very similar animation.                     We


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                         K. Almeroth - by Mr. Gaudet                                 89
 1   talked about headers and payloads.                  I think that that's an

 2   accurate description of a packet.                  The header is equivalent to,

 3   say, the address information on the outside of an envelope.

 4   Just like on an envelope, there are rules for where you put

 5   information and what structure that information should have.

 6   You have two-letter state abbreviations.                  Five- or nine-digit

 7   zip codes.     The return address goes in the upper left or at the

 8   top on the back of the envelope.                  So there's agreements and

 9   protocols and formats to what all these things should look like,

10   and in large part that's what's goes into the header of a

11   packet.     And just like the information on the letter, it's used

12   by routers to decide where to send those packets so that they

13   reach a particular destination.

14           Slide 11 shows you some of the types of information that

15   can be in a header.       I mentioned protocols.             Internet Protocols,

16   IP.     The Transmission Control Protocol, TCP, then HTTP.

17                THE COURT:     The transmission what?

18                THE WITNESS:      The Transmission Control Protocol.             It's

19   one of the protocols that's used in the Internet to deliver

20   data.     The point that I would make here is that often headers

21   have multiple protocols in the header at the same time.                  To sort

22   of foreshadow where this is going to go, you can envision a

23   security device looking at some of the different protocols in

24   the header to determine whether or not something is malicious or

25   not.     So the point on this slide is really to show that there


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                         K. Almeroth - by Mr. Gaudet                               90
 1   could be a fair amount of complexity, detail, about what's in

 2   the payload and where the packet came from, where it should be

 3   going.

 4                THE COURT:     What's in the payload or what's in the

 5   header?

 6                THE WITNESS:      Both.        In some cases the header will

 7   provide an indication of what's in the payload.               It will tell

 8   you -- the header will tell you that you have a web request.                  It

 9   will tell you that this packet is part of a set of packets.

10                So the additional two points here is that one of those

11   pieces of information is what's called an IP address, and that's

12   like the street number, and the street, city, state and zip code

13   on a letter.     If you've ever seen one of these kinds of numbers,

14   it's kind of four numbers separated by periods.               And that's the

15   numbered address that computers on the Internet will have.

16   You'll see, if you looked into a computer network, numbers like

17   that representing the header's path.

18                THE COURT:     Well that would be like my Internet

19   address --

20                THE WITNESS:      Yes, sir.          Exactly.

21                THE COURT:     -- would be an Internet protocol.

22                THE WITNESS:      That's correct.

23                THE COURT:     And it might be sent to a number of

24   people, not just the one person.

25                THE WITNESS:      You would need multiple addresses.           Each


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                         K. Almeroth - by Mr. Gaudet                          91
 1   person you would send it to would have their own IP address in

 2   their computer.    So you would have to send -- you could send it

 3   multiple times from your computer or send it to someone who

 4   would then make copies and then send it on.

 5               THE COURT:      Well, you can have -- I mean, your

 6   computer can have something in the software that automatically

 7   sends it to all of the judges in the court, for example --

 8               THE WITNESS:       That's correct.

 9               THE COURT:      -- or --

10               THE WITNESS:       And your software will say for these

11   judges this is the IP address of their computers and will do all

12   of the work for you to divide that document up into a series of

13   packets and put those onto the network or into the network.

14               THE COURT:      Okay.       I think this might be a good

15   stopping point.    It's time for our luncheon recess.           We're going

16   to have to interrupt your testimony, the question is is this a

17   good time to do it?

18               THE WITNESS:       Any time is a good time for lunch, Your

19   Honor.

20               THE COURT:      Well --

21               MR. GAUDET:      Your Honor --

22               THE COURT:      -- depends on what kind of diet you're on.

23   I'm on a diet.

24               MR. GAUDET:      Your Honor, based on the presentation, I

25   think this is a perfectly fine place to take a break and all get


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                                                                                  92
 1   some lunch.

 2                THE COURT:      All right.         Well, let's resume at five

 3   minutes after 2:00.

 4                MR. GAUDET:       Thank you, Your Honor.

 5                THE COURT:      All right.

 6                (Luncheon recess taken at 1:04 p.m.)

 7
                                            - - -
 8

 9                                    CERTIFICATION

10

11                I certify that the foregoing is a true, complete and

12   correct transcript of the proceedings held in the above-entitled

13   matter.

14                   Paul L. McManus, Digitally signed by Paul L. McManus, OCR
                                        DN: cn=Paul L. McManus, OCR, c=US,
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16                          Paul L. McManus, RMR, FCRR

17                                      ___________

18                                           Date

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